              IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA




UNITED STATES OF AMERICA, STATE OF
NORTH CAROLINA, STATE OF
CALIFORNIA, STATE OF COLORADO,
STATE OF CONNECTICUT, STATE OF
ILLINOIS, COMMONWEALTH OF
MASSACHUSETTS, STATE OF MINNESOTA,
STATE OF OREGON, and STATE OF
TENNESSEE,


     Plaintiffs,



     vs.                               No. 1:24-cv-00710-WLO-JLW



REALPAGE, INC.; CAMDEN PROPERTY
TRUST; CORTLAND MANAGEMENT, LLC;
CUSHMAN & WAKEFIELD, INC.;
GREYSTAR REAL ESTATE PARTNERS,
LLC; LIVCOR, LLC; PINNACLE
PROPERTY MANAGEMENT SERVICES, LLC;
and WILLOW BRIDGE PROPERTY
COMPANY, LLC,


     Defendants.




      PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTIONS TO
                              DISMISS




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                                INTRODUCTION

       The question before the Court is simple: Is Plaintiffs’

Complaint “plausible on its face,” after “draw[ing] all

reasonable inferences in [their] favor”? E.I. du Pont de Nemours

& Co. v. Kolon Indus., Inc., 637 F.3d 435, 440 (4th Cir. 2011).

The answer is yes. In their 333-paragraph Complaint (Doc. 47),

Plaintiffs have pled more than sufficient facts to support their

two claims against Defendants Camden Property Trust (“Camden”),

Greystar Management Services, LLC (“Greystar”), LivCor, LLC

(“LivCor”), Pinnacle Property Management Services, LLC

(“Pinnacle”), and Willow Bridge Property Company, LLC (“Willow

Bridge”) (collectively “Defendants”).1 As the Complaint explains,

Defendants agreed with RealPage, Inc. (“RealPage”)2 and each

other to share their nonpublic, competitively sensitive data for

use by RealPage’s revenue management software products known as

AI Revenue Management (AIRM) and YieldStar in generating pricing



1 Through separately filed stipulations with the relevant
Defendants (Docs. 143 & 144), Plaintiffs are (1) dismissing
Greystar Real Estate Partners, LLC from this action without
prejudice and substituting Greystar Management Services, Inc. in
its place as a Defendant, and (2) dismissing Cushman &
Wakefield, Inc. from this action without prejudice. As used in
this brief, the term “Defendants” assumes that these changes to
the parties will take effect once the Court reviews the
stipulations and enters the proposed orders.
2 Unless the text otherwise makes clear, Defendant RealPage is
referred to separately and by name in this brief.

                                   – 1 –



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recommendations (Claim One). Defendants further agreed with

RealPage to align their pricing by licensing and using AIRM and

YieldStar, which RealPage designed to have the effect of

aligning users’ pricing processes, strategies, and pricing

responses (Claim Two).

       Confronted with these factual allegations, Defendants’

Motions to Dismiss resort to attacking agreements that are not

alleged, ignoring the allegations, improperly attempting to add

new facts at the pleading stage, and misstating or

mischaracterizing the applicable law.3 The Court should deny

their motions.

                            FACTUAL BACKGROUND

       This case concerns a scheme to manipulate, distort, and

subvert competition in the multifamily rental housing industry,

orchestrated by RealPage and participated in by numerous

companies that own and/or manage rental properties and set

rental prices for the units at those properties. (Compl. ¶¶ 5–




3 This brief responds to Defendants’ joint motion and brief
(Docs. 128 & 129), Camden’s motion and brief (Docs. 133, 134),
LivCor’s motion and brief (Docs. 135 & 136), Pinnacle’s motion
and brief (Docs. 137 & 138), and Willow Bridge’s motion and
brief (Docs. 132, 132-1 & 139). Through the stipulations
referenced in footnote 1 supra, Plaintiffs separately resolve
Greystar Real Estate Partners’ motion and brief (Docs. 130
& 131) and Cushman & Wakefield, Inc.’s motion and brief
(Docs. 137 & 138).

                                   – 2 –



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10.) The Complaint (and likewise this brief) refers to these

companies generically as “landlords,” and they include each

Defendant.

     RealPage’s anticompetitive scheme has two parts. The first

part involves RealPage’s daily collection of nonpublic,

competitively sensitive lease transaction data from

participating landlords, including their rental prices from

executed leases, lease terms, and future occupancy, and

RealPage’s use of that data to train and run pricing algorithms

that underlie its revenue management software. (Compl. ¶ 5.) The

second part of the scheme involves RealPage’s design,

development, and licensing of its revenue management software,

known as AIRM and YieldStar. (Id. ¶ 6.) Using the shared data,

RealPage’s software runs on algorithms that recommend the rental

prices that landlords should set, and the software also

instructs landlords on a specific way to price their units that

aligns with how their competitors are setting prices in local

rental markets. (Id. ¶ 6.) Plaintiffs seek to hold landlords who

participate in RealPage’s orchestrated scheme equally

accountable for the anticompetitive consequences of their

conduct.

     Plaintiffs’ two claims against RealPage and Defendants

under Section 1 of the Sherman Act center on two sets of


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agreements that underlie the anticompetitive scheme described

above. The first set of agreements, which forms the basis of

Claim One, involves the sharing of nonpublic, competitively

sensitive lease transaction data by each participating landlord,

including Defendants, with RealPage. (Compl. ¶¶ 18, 21–24.) Each

landlord that agrees to share its data with RealPage explicitly

or implicitly understands and agrees that this arrangement

involves other landlords likewise sharing their data with

RealPage. Furthermore, participating landlords understand that

they collectively benefit from this arrangement because it is

unambiguously a mutual exchange of information among

competitors. (Id. ¶¶ 19–20, 25–26.)

     Notably, effectuating this mutual exchange of information

does not require each participating landlord to hand their data

directly to each and every competitor. Instead, each landlord,

including Defendants, knows that it only has to give RealPage

nightly access to its data. RealPage in turn ensures that other

participating landlords automatically benefit from that data

through their licensing and use of AIRM or YieldStar to help

with strategic decision-making on rental prices. Moreover, no

landlord has to guess how its shared data might be used by

competing landlords. AIRM and YieldStar do all the hard work for

them, leveraging the shared data in generating recommendations


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on rental prices and related competitive levers. It therefore

makes no difference that competing landlords do not get to see

each other’s individual shared data; they need not do so to reap

the intended economic benefits of the exchange.

     The second set of agreements, which forms the basis of

Claim Two, involves the licensing of AIRM and YieldStar revenue

management software by landlords, including Defendants, from

RealPage for use in making competitive decisions on rental

prices. (Compl. ¶¶ 28–29.) As already explained, licensing and

use of AIRM and YieldStar is one way that landlords can reap the

intended economic benefits of their sharing of data with

RealPage and each other. When they decide to license AIRM or

YieldStar, they know that the software makes use of their shared

data. But that is not the only reason that licensing and use of

AIRM and YieldStar negatively impacts competition in multifamily

rental housing markets.

     Importantly, RealPage has designed AIRM and YieldStar to

provide a common set of processes, responses, and strategies for

setting rental prices to all landlords who license and use the

software, including Defendants. Although each landlord still has

flexibility regarding the rental prices it ultimately sets and

offers on any given day, the fact remains that its strategic

decision-making leading to those rental prices has been shaped


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and steered by the software as designed, and the software

likewise shapes and steers the decision-making of competing

landlords, leading to greater alignment of their pricing

behavior. This software-enabled alignment of pricing behavior

unquestionably harms the competitive process and therefore

violates Section 1 of the Sherman Act.


                              LEGAL STANDARDS

     To survive a motion to dismiss, Plaintiffs need only “state

a claim that is ‘plausible on its face,’” after the court

“‘draw[s] all reasonable inferences in [their] favor.’” Kolon

Indus., 637 F.3d at 440 (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007), and Nemet Chevrolet, Ltd. v.

Consumeraffairs.com, Inc., 591 F.3d 250, 253 (4th Cir. 2009)).

The court is “not asked to consider whether defendants actually

violated” the antitrust laws, Robertson v. Sea Pines Real Estate

Cos., 679 F.3d 278, 284 (4th Cir. 2012), or to “‘resolve

contests surrounding the facts, the merits of a claim, or the

applicability of defenses,’” FTC v. Syngenta Crop Protection AG,

711 F. Supp. 3d 545, 562 (M.D.N.C. 2024) (quoting Republican

Party of N.C. v. Martin, 980 F.2d 943, 952 (4th Cir. 1992)).

     Moreover, Plaintiffs do not face a higher standard on a

motion to dismiss simply because they had access to precomplaint

discovery. In re Air Cargo Shipping Servs. Antitrust Litig.,
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2010 WL 10947344, at *10 (E.D.N.Y. Sept. 22, 2010) (“Having

access to more information does not require the plaintiffs to

plead with greater factual specificity than before. . . . The

inquiry is whether the complaint states a plausible claim, and

not whether the plaintiffs could have or should have amplified

their claims by adding more specifics.” (citations omitted));

FDIC v. Saphir, 2011 WL 3876918, at *5 (N.D. Ill. Sept. 1, 2011)

(“Without citing to any supporting case law, Defendants suggest

that the FDIC should be held to a higher pleading standard

because it conducted significant pre-suit discovery. . . . The

court . . . finds no support for the notion that it somehow

elevates the FDIC’s pleading standard.”).


                                ARGUMENT

     As Plaintiffs lay out in extensive detail, Defendants have

participated in a (1) “contract, combination, or conspiracy”—

that is, “concerted action”—(2) that “unreasonably retrains

trade.” Am. Needle, Inc. v. NFL, 560 U.S. 183, 186 (2010); see

15 U.S.C. § 1 (2018); Robertson, 679 F.3d at 284. Defendants

have agreed to pool their nonpublic, competitively sensitive

data with RealPage to run common pricing algorithms. These

algorithms combine Defendants’ pooled, competitively sensitive

data with several anticompetitive rules to generate pricing

recommendations, which they are taught to use as a basis for
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setting their apartment prices. These interrelated forms of

concerted action harm competition. Through detailed allegations,

the Complaint provides “sufficient factual matter, accepted as

true, to ‘state a claim to relief that is plausible on its

face.’” Robertson, 679 F.3d at 288 (quoting Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009)). Nothing more is required.

     Unable to contest that straightforward agreement,

Defendants resort to misconstruing Plaintiffs’ agreements and

precedent. And they improperly attempt to use the basic

plausibility standard to “require . . . [Plaintiffs] to prove

[their] case in the complaint.” Robertson, 679 F.3d at 291. None

of their arguments provides a basis for the Court to dismiss

Plaintiffs’ claims.

     Part I below explains how Claim One states a plausible

claim under Section 1 of the Sherman Act for Defendants’

agreement to share information with RealPage and other landlords

for use in pricing. It further lays out how Defendants’

arguments fail. Part II explains how Claim Two states a

plausible claim under the Section 1 of the Sherman Act for

Defendants’ agreements with RealPage to align pricing by

licensing and using AIRM and YieldStar, and addresses why

Defendants’ arguments fail as to this claim. Part III explains




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why Defendants’ motions to dismiss the state-law claims should

be denied.


I.   Claim One States a Plausible Claim for Relief Against
     Defendants for Agreeing with RealPage and Each Other to
     Share Information for Use in Pricing

     A.      The Complaint Alleges Concerted Action Among
             Defendants and RealPage

     The first element of a Section 1 claim, concerted action,

broadly encompasses any arrangement that joins “‘separate

economic actors pursuing separate economic interests,’ such that

the agreement ‘deprives the marketplace of independent centers

of decisionmaking.’” Robertson, 679 F.3d at 285 (quoting Am.

Needle, 560 U.S. at 195). Concerted action includes “a unity of

purpose or a common design and understanding, or a meeting of

minds in an unlawful arrangement.” Am. Tobacco Co. v. United

States, 328 U.S. 781, 810 (1946). To plausibly allege concerted

action, a complaint need only plead “enough factual matter

(taken as true) to suggest that an agreement was made.”

Robertson, 679 F.3d at 289 (quoting Twombly, 550 U.S. at 556).

Plaintiffs easily meet this standard (1) through direct

allegations of an agreement and, alternatively, (2) through a

“context that raises a suggestion of a preceding agreement,”

from which the court may infer an agreement was made. Id.

(citing Twombly, 550 U.S. at 557).


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          1.    Direct Allegations of an Agreement to Share
                Information

     The Complaint alleges that RealPage enters into a written

agreement with every landlord that uses any of the following

RealPage software products: AIRM, YieldStar, OneSite,

Performance Analytics with Benchmarking (PAB), or Business

Intelligence (BI). (Compl. ¶¶ 18, 20–21, 23.) Each Defendant has

entered into this agreement with RealPage. (Id. ¶¶ 238 (Camden),

244 (Pinnacle), 247 (Greystar), 250 (LivCor), 253 (Willow

Bridge), 257 (all Defendants).) This written agreement

stipulates that the landlord is sharing its confidential,

nonpublic data with RealPage. (Id. ¶¶ 18–20, 23.) That data

includes granular, timely, comprehensive lease-level information

on each unit’s effective rent, rent discounts, rent term, lease

status, and unit characteristics, as well as information on

potential future renters. (Id. ¶ 18.) These allegations

establish concerted action between each Defendant and RealPage

regarding the sharing of information.

     But that is not all. When each Defendant signs this

agreement with RealPage, it knows that RealPage will use its

individual, nonpublic, competitively sensitive data to generate

pricing recommendations not only for itself, but also for its

competitors. (Compl. ¶¶ 16, 18–20, 23, 25—26, 260–64.) The

Complaint provides several examples of Defendants’ knowledge

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that their agreement to share data is a reciprocal exchange with

other landlords. For instance, RealPage’s sales pitches to

landlords highlight the importance of competitors’ “lease

transaction data” as one of three “building blocks of price.”

(Id. ¶ 16.) A Greystar revenue management director testified

that she understood Greystar and other landlords agreed with

RealPage to share their data with RealPage, which was combined

into a single data pool. (Id. ¶ 19.) A Willow Bridge executive

noted that one benefit from using YieldStar was getting “shared

data” from other properties in the local submarket. (Id.)

RealPage explains to its landlord clients—including Defendants—

that access to nonpublic, transactional data from the clients’

competitors through AIRM and YieldStar is a meaningful tool to

achieve claimed outperformance over non-users. (Id. ¶ 20.) Each

example illustrates that Defendants’ agreement to share their

information is made with the knowledge that they and their

competitors will mutually benefit from each other’s data. (Id.)4




4 Defendants argue that there was no sharing of nonpublic data
because they did not “receive information specific to other
users.” (Doc. 129 (“Joint Br.”) at 16.) But they cite only one
example of information sharing facilitated by RealPage, (id.),
insert new facts about the level of aggregation, (id.), and—most
importantly—ignore the allegations that AIRM and YieldStar use
the unaggregated data to provide pricing recommendations and
prices, (Compl. ¶ 42). Defendants do not need to see every


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     The fact that Defendants have agreed to share information

with each other through RealPage draws additional support from

other instances in which they have shared competitively

sensitive information directly with one another and other

landlords to inform their pricing. (Compl. ¶¶ 78, 263.) These

direct exchanges of information include market surveys, (id.

¶¶ 82–84, 98), shared Google drive documents, (id. ¶¶ 83, 85),

emails, (id. ¶¶ 89–94), videoconferences, (id. ¶¶ 96–97), and

RealPage user group meetings, (id. ¶¶ 102–05, 108–11).

Defendants exchanged nonpublic, competitively sensitive

information on guest traffic, occupancy, and net effective rents

(id. ¶¶ 82–85, 98, 263), corporate protocols for concessions and

rent increases (id. ¶ 89), future pricing strategies (id. ¶¶ 90–

92, 94, 97, 108–09, 111), and compliance with RealPage pricing

recommendations (id. ¶ 110).

     These allegations plausibly plead a horizontal agreement

among Defendants to share nonpublic, competitively sensitive

information for use in setting rental prices. United States v.

Container Corp. of America, 393 U.S. 333 (1969), is instructive.

In that case, multiple producers of corrugated containers




nonpublic lease of their competitors when the pricing software
that they use “sees” it and makes use of it for them.

                                 – 12 –



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contacted one another “for information as to the most recent

price charged or quoted, whenever it needed such information and

whenever it was not available from another source.” Id. at 335.

Each company provided this information “with the expectation

that it would be furnished reciprocal information when it wanted

it.” Id. Even though these price exchanges were marked by

“infrequency and irregularity,” the Court concluded that this

sharing of information, with the expectation of reciprocity,

constituted concerted action. Id. (“Yet the essence of the

agreement was to furnish price information whenever

requested.”).

     Here, the information sharing among landlords is even more

pervasive and coordinated than in Container Corp. Instead of

infrequent or irregular exchanges, Defendants share their

sensitive data daily with RealPage, knowing that it will be used

to generate pricing recommendations and prices for their

competitors daily. (Compl. ¶¶ 18–20, 42, 52.) They do this

because they know that they too will benefit from their

competitors’ sharing of nonpublic data for their own pricing

purposes. (Id. ¶¶ 19–20.) This knowledge of reciprocity

establishes concerted action among Defendants to share

information. See Container Corp., 393 U.S. at 335.




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     In short, Defendants accepted RealPage’s invitation to use

its software that, by nature and design, contemplated

information sharing among competitors and which would be used to

harm competition and renters. (Compl. ¶¶ 1–3, 15–26.) Interstate

Circuit, Inc. v. United States, 306 U.S. 208, 226–27 (1939)

(finding concerted action where “knowing that concerted action

was contemplated and invited, the distributors gave their

adherence to the scheme and participated in it”).

          2.    Allegations Supporting an Inference of an
                Agreement to Share Information

     Even though the Complaint explicitly pleads an agreement

among Defendants to share information with other participating

landlords, it also pleads sufficient facts from which the Court

may, in the alternative, infer an agreement among them. Under

governing case law, courts infer agreements from (1) parallel

conduct and (2) “further circumstance[s] pointing toward a

meeting of the minds,” often characterized as “plus factors.”

SD3, LLC v. Black & Decker (U.S.), Inc., 801 F.3d 412, 424

(4th Cir. 2015) (quoting Twombly, 550 U.S. at 557); Mr. Dee’s

Inc. v. Inmar, Inc., 2022 WL 825995, at *7 (M.D.N.C. Mar. 18,

2022). Parallel conduct is established by pleading facts that

“the defendants acted ‘similarly.’” SD3, 801 F.3d at 427

(quoting Petruzzi’s IGA Supermarkets, Inc. v. Darling-Delaware

Co., 998 F.2d 1224, 1243 (3d Cir. 1993)). Parallel conduct “need

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not be exactly simultaneous and identical in order to give rise

to an inference of agreement.” Id. at 429 (quoting LaFlamme v.

Societe Air France, 702 F. Supp. 2d 136, 151 (E.D.N.Y. 2010)).

     Plus factors include allegations of (1) motive to enter

into the agreement and (2) acts contrary to the defendants’

independent self-interest. See, e.g., SD3, 801 F.3d at 431

(motive); In re Flat Glass Antitrust Litig., 385 F.3d 350, 360–

61 (3d Cir. 2004) (motive and action against self-interest); Mr.

Dee’s, 2022 WL 825995, at *8 (same). Plus factors must be

evaluated holistically. SD3, 801 F.3d at 424–25.

     Here, each Defendant agrees in parallel to share nonpublic,

competitively sensitive data daily with RealPage. (Compl. ¶ 18.)

See SD3, 801 F.3d at 427 (explaining that parallel conduct is

established when “similar” acts are pleaded and holding that

plaintiff alleged parallel conduct by pleading that none of the

defendants license or used plaintiff’s technology). Each

Defendant knows that RealPage will use its data to generate

pricing recommendations for its competitors that use AIRM or

YieldStar. (Compl. ¶ 19.) Each Defendant likewise knows that

RealPage will use its competitors’ data to generate pricing

recommendations for itself, if it uses AIRM or YieldStar. (Id.

¶ 20.)




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     Along with parallel conduct, the Complaint pleads at least

three plus factors that holistically support an inference of an

agreement among Defendants to share information. First, there

are alleged actions contrary to self-interest. Sharing granular,

transaction-level data to be used to help a competitor price its

floor plans and units would typically be against each

Defendant’s independent self-interest because in a competitive

market, a profit-making business has no reason to help its

marketplace rivals. (Compl. ¶ 19.) See Flat Glass Antitrust

Litig., 385 F.3d at 360–61 (“Evidence that the defendant acted

contrary to its interests means evidence of conduct that would

be irrational assuming that the defendant operated in a

competitive market.”).

     Second, there are allegations of motive. Defendants, who

should otherwise be competing, are motivated to share their

nonpublic data so they can better exploit AIRM and YieldStar,

which are designed to “stretch and pull pricing” and “to always

test the top of the market.” (Compl. ¶ 122.) They view the

pooled nonpublic data in RealPage’s products as a key feature to

help them outperform the market. (Id. ¶¶ 20, 42, 44, 48–50.)

     Third, the Complaint alleges a high level of communications

among Defendants and with other landlords to share, or

facilitate the sharing of, competitively sensitive information.


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For example, Defendants shared information on the use of

concessions, rent increases, pricing strategies, and rates of

accepting RealPage’s pricing recommendations. (Compl. ¶¶ 82–84,

89, 90–92, 94, 97–98, 108–10.) These allegations also go to

motive because they show “that the industry is conducive to

[information exchanges], either interdependently or through a

more express form of collusion.” Flat Glass Antitrust Litig.,

385 F.3d at 360.

     The district court overseeing the pending MDL litigation

against RealPage and various landlords has drawn similar

inferences, albeit to support the existence of a horizontal

price-fixing conspiracy alleged by the private plaintiffs, which

is not alleged here. Specifically, the court found that the

“most persuasive evidence of horizontal agreement is the simple

undisputed fact that each RMS Client Defendant provided RealPage

its proprietary commercial data, knowing that RealPage would

require the same from its horizontal competitors and use all of

that data to recommend rental prices to its competitors.” In re

RealPage, Inc., Rental Software Antitrust Litig. (No. II)

(“RealPage MDL”), 709 F. Supp. 3d 478, 510 (M.D. Tenn. 2023).

That is because “the contribution of sensitive pricing and

supply data for use by RealPage to recommend prices for

competitor units is in Defendants’ economic self-interest if and


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only if Defendants know they are receiving in return the benefit

of their competitors’ data in pricing their own units.” Id. So

too here. (Compl. ¶¶ 19–20, 260.)

     In summary, the Complaint pleads concerted action among

RealPage and Defendants through a written agreement by which

each Defendant shares nonpublic, competitively sensitive

information with RealPage, with the understanding and

expectation that this information would be shared reciprocally

with competitors to generate daily pricing recommendations and

unit prices. Alternatively, the Court may infer the existence of

the horizontal agreement among Defendants. When Defendants

signed written agreements with RealPage to share nonpublic,

competitively sensitive information, they knew and understood

that their AIRM- and YieldStar-using competitors would get the

benefit of that data in their pricing recommendations and

prices. And that was fine with them because they in turn got the

benefit of their competitors’ data when they received their own

pricing recommendations and prices from RealPage. Under either

approach, the Complaint plausibly alleges concerted action among

Defendants as well as concerted action with RealPage.

     B.   The Complaint Plausibly Alleges the Anticompetitive
          Effects of the Information-Sharing Agreement

     The second element of a Section 1 claim involves showing

that the contract, combination, or conspiracy “imposed an

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unreasonable restraint of trade.” Robertson, 679 F.3d at 284. A

restraint’s unreasonableness is “presumptively” measured under

the “rule of reason . . . looking to the circumstances, details,

and logic of a restraint” to assess its competitive effects.

NCAA v. Alston, 594 U.S. 69, 81, 97 (2021) (quoting Cal. Dental

Ass’n v. FTC, 526 U.S. 756, 781 (1999)).5

       To satisfy the rule of reason, a plaintiff can establish

anticompetitive effect either “indirectly” or “directly.” Ohio

v. Am. Express Co., 585 U.S. 529, 542 (2018). At the pleading

stage, the direct approach requires allegations of “actual

detrimental effects [on competition].” Id. at 542 (quoting FTC

v. Ind. Fed’n of Dentists, 476 U.S. 447, 460 (1986)). The




5 As the Fourth Circuit has observed, there are three recognized
methods of analysis regarding the unreasonableness of a
restraint: “(1) per se analysis, for obviously anticompetitive
restraints, (2) quick-look analysis, for those with some
procompetitive justification, and (3) the full ‘rule of reason,’
for restraints whose net impact on competition is particularly
difficult to determine.” Cont’l Airlines, Inc. v. United
Airlines, Inc., 277 F.3d 499, 508–09 (4th Cir. 2002). At the
pleading stage, however, the Court need not decide what method
of analysis applies because the Complaint satisfies the full
rule of reason. See Lumber Liquidators, Inc. v. Cabinets To Go,
LLC, 415 F. Supp. 3d 703, 713–14 (E.D. Va. 2019) (“[I]t would be
premature to determine which antitrust standard—whether the
‘rule of reason’ or ‘per se’—applies at this procedural
posture.”) (collecting cases); Cont’l Airlines, Inc. v. United
Air Lines, Inc., 120 F. Supp. 2d 556, 565 (E.D. Va. 2000) (“This
factual inquiry [as to whether to apply a per se or rule of
reason analysis] is inappropriately performed at the pleading
stage. . . .”).

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indirect approach requires first, allegations of market power,

and, second, “some evidence that the challenged restraint harms

competition.” Id. at 542. For an information-sharing claim, the

evaluation of the restraint focuses on (1) the “nature of the

information exchanged,” and (2) the “structure of the industry

involved.” United States v. U.S. Gypsum Co., 438 U.S. 422, 441

n.16 (1978); Todd v. Exxon Corp., 275 F.3d 191, 207, 211

(2d Cir. 2001) (Sotomayor, J.).

     To withstand a motion to dismiss under either approach,

“[i]t is sufficient that the alleged anticompetitive effects are

economically plausible in light of the . . . restrictions

recounted in the complaint.” Robertson, 679 F.3d at 291

(emphasis added). The Complaint satisfies both approaches.

          1.    Direct Evidence of Anticompetitive Harm from
                Information Sharing

     The Complaint alleges direct evidence of harm to

competition. Direct evidence can include allegations plausibly

suggesting that the defendants increased prices above a

competitive level, reduced output, or “otherwise stifled

competition.” Am. Express, 585 U.S. at 547.

     As the Complaint explains, AIRM and YieldStar are designed

to avoid routine, everyday competition among landlords and

instead lead to a “greater good in everybody succeeding versus

essentially trying to compete against one another in a way that

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actually keeps the industry down.” (Compl. ¶ 32.) To achieve

this, the software runs on shared nonpublic data to create a

property’s “market response curve,” to identify “peer”

properties that set upper and lower bounds on pricing, to keep

landlord users in line with their competitors, to determine the

degree of pricing elasticity, and to limit exposure to enable

users to maintain pricing power. (See id. ¶¶ 42–55.) This shared

data also underlies multiple software features in AIRM and

YieldStar known as “guardrails,” including the “hard floor” and

“revenue protection mode.” (Id. ¶¶ 142–44.) Defendants’ sharing

of competitively sensitive information for use in a software

tool designed for pricing unquestionably stifles competition.

See Container Corp., 393 U.S. at 338 (“Price is too critical,

too sensitive a control to allow it to be used even in an

informal manner to restrain competition.”). Far from

unintentional or attenuated, Defendants share their

competitively sensitive information for the direct purpose of

influencing prices and output. (Compl. ¶¶ 16–20, 40–58.)

     This information—shared in near real time—is used to

determine elasticity and thereby enable Defendants to push

pricing higher than they otherwise would. (Compl. ¶¶ 122 (“[W]e

may have a $50 increase instead of a $10 increase.”), 136 (The

model does not lower prices if “there isn’t much elasticity


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between the recommended position and the current one” and “the

model would recommend the highest possible position [i.e.,

price] without affecting demand.”).) The shared information

“‘eliminate[s] the guessing game’ on rent” and provides

landlords more certainty that they can raise prices without

triggering a competitive response. (Id. ¶¶ 123–25.) That

information asymmetry disadvantages renters, who pay higher

prices than they would without the exchange of information. (Id.

¶ 125–26.)

     The recurrent sharing of information also creates a

feedback loop whereby price increases prompted by the software’s

recommendations lead other landlords to follow suit. (Compl.

¶¶ 127–28.) The shared information helps the software set

“boundaries” on the range of prices set by landlords. (Id.

¶ 129.) Landlords use the information to manage lease

expirations, maintain pricing power, and charge higher prices.

(Id. ¶¶ 157–62.) And the information is also used to implement

revenue protection mode, an operating mode in which the software

“reduces the target number of leases”—that is, target output—and

therefore “tends to reduce price decreases or increase rental

prices.” (Id. ¶ 144.)

     Brushing aside these well-pleaded allegations, Defendants

demand an “analysis of output or prices” in Plaintiffs’


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Complaint. (Joint Br. at 36.) This misstates the pleading

standard. “Iqbal and Twombly do not require a plaintiff to prove

his case in the complaint.” Robertson, 679 F.3d at 291. Indeed,

the Fourth Circuit has rejected the same argument Defendants now

make. Id. (rejecting defendants’ argument that the complaint

must show “whether prices went up, down, or stayed the same”).

The Complaint alleges “economically plausible” output and price

effects from the exchange of competitively sensitive information

(Compl. ¶¶ 121–31, 136–39, 142–48, 152, 157–62.) Nothing more is

required. The Defendants’ argument also overlooks the extensive

allegations of stifled competition, (id. ¶¶ 121–31, 153–56),

which can independently satisfy the direct approach. Am.

Express, 585 U.S. at 547 (showing that defendants “otherwise

stifled competition”).

          2.    Indirect Evidence of Anticompetitive Harm from
                Information Sharing

     Under the indirect approach, the Complaint sufficiently

pleads market power and “some evidence” that Defendants’

agreement to share information harms competition.

     First, market power is the “ability to alter the

interaction of supply and demand in the market.” NCAA v. Bd. of

Regents of Univ. of Okla., 468 U.S. 85, 109 (1984). “One

traditional way to demonstrate market power is by defining the

relevant product market and showing defendants’ percentage share

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of that market.” Todd, 275 F.3d at 199. A relevant market

consists of at least one product market and one geographic

market. Kolon Indus., 637 F.3d at 441.

       The Complaint alleges extensive, unchallenged facts

supporting both the relevant product market and two types of

geographic markets. (Compl. ¶¶ 183–99, 204–18.) Plaintiffs

calculate market share in two ways. One method, which is

especially relevant to the information-sharing claim, is the

percentage of units managed by landlords using AIRM, YieldStar,

and OneSite, and for which nonpublic, competitively sensitive

information is shared with RealPage and other landlords.6 Using

this method, the Complaint lists markets across the country

where RealPage’s penetration rate ranges from 30% to over 80%.

(Id. ¶¶ 209 (App’x A), 211 (App’x B), 214 (Table 1), 216

(Table 2).)

       These market share allegations easily satisfy the pleading

requirements for market power. See Am. Column & Lumber Co. v.

United States, 257 U.S. 377, 413 (1921) (Brandeis, J.




6 The other method is the percentage of rental units that are
priced using AIRM and YieldStar. However, this measure
undercounts the collective market power of the landlords
(including Defendants) that have agreed to share information as
alleged in Claim One because not all landlords that share their
data with RealPage also license AIRM or YieldStar.

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dissenting) (noting that the participating manufacturers

controlled “about thirty per cent” of the market); United States

v. Visa U.S.A., Inc., 344 F.3d 229, 240 (2d Cir. 2003)

(affirming trial court finding that MasterCard had market power

with 26% share); RealPage MDL, 709 F. Supp. 3d at 527 (holding

that plaintiffs adequately alleged market power with market

shares between 25% and 53%); cf. Kolon Indus., 637 F.3d at 452

n.12 (holding that a plaintiff need not allege “a specific

percentage of market foreclosure”).

     Defendants do not challenge these allegations as

insufficient to show market power. Rather, they claim that these

market shares do not plead market power because they include

units of landlords who are not, according to Defendants, “co-

conspirators.” (Joint Br. at 37.) In making this argument,

Defendants misunderstand the nature of the concerted action

alleged by Claim One. It is an agreement to share competitively

sensitive data, agreed to by every landlord that uses AIRM,

YieldStar, OneSite, PAB, and BI. (Compl. ¶¶ 260–62.) The

calculated market shares reflect the market power of all the

landlords who have used AIRM, YieldStar, and OneSite, and




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participated in the alleged concerted action.7 These aggregate

numbers for each local rental market represent the extent of the

information exchange, both in terms of the landlords who are

participating and the number of units for which data is being

shared with everyone.

       Second, the nature of the information exchanged and the

industry structure speak to the likely anticompetitive effects

of the information sharing, i.e., the degree to which it

distorts competition in each local rental market. Defendants do

not challenge this point.

       Defendants have agreed to share information on net prices,

occupancy, new leases, renewal offers and acceptances, lease

terms, and guest traffic. (Compl. ¶¶ 5, 15, 18, 34.) The

information is granular, current, and future-looking. (Id.

¶¶ 18, 34.) It is shared daily and is “among the most

competitively sensitive data a landlord maintains.” (Id. ¶ 15,

18.)

       “Exchanges of current price information, of course, have

the greatest potential for generating anticompetitive effects




7 If anything, the market shares alleged in the Complaint
understate the participants’ market power because these shares
do not include units of landlords using PAB and BI who thereby
participate in the information sharing. (Compl. ¶ 209 n.11.)

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and although not per se unlawful have consistently been held to

violate the Sherman Act.” U.S. Gypsum, 438 U.S. at 441 n.16

(emphases added) (citing Am. Column & Lumber, supra; United

States v. Am. Linseed Oil Co., 262 U.S. 371 (1923); Container

Corp., supra). Here, Defendants are exchanging current price

information and more. The facts are uncannily similar to those

in American Column & Lumber.

     There, the defendant lumber manufacturers shared with a

trade association employee six reports, including a daily report

of executed sales and sales prices and a daily shipping report.

Am. Column & Lumber, 257 U.S. at 394–95. Every week, that trade

association employee, referred to euphemistically as a “manager

of statistics,” provided the manufacturers a report showing

sales, including pricing information, and shipments of the other

manufacturers. Id. at 396. Monthly meetings were also held for

discussions of “all subjects of interest.” Id. at 397. In

holding that the defendants had violated the Sherman Act, the

Court highlighted that “[g]enuine competitors do not make daily,

weekly, and monthly reports of the minutest details of their

business to their rivals, as the defendants did.” Id. at 410.

     In the same fashion, Defendants share competitively

sensitive information on a daily basis with RealPage, which then

analyzes that information and shares the resulting analysis


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among Defendants and other landlords. That information includes

pricing recommendations, prices, and visualizations such as

market range charts and amenity valuations. (Compl. ¶¶ 44–58.)

Additionally, landlords, including Defendants, participate in

monthly RealPage user group meetings where competitively

sensitive information is discussed. (See id. ¶¶ 102–111.) Still

other Defendants shared competitively sensitive information

directly with each other. (See id. ¶¶ 82–99.)

     In Todd, then-Judge Sotomayor identified three pertinent

factors regarding the nature of the information shared: the time

frame of the data, the specificity of the information, and

whether the data is made public. 275 F.3d at 211–13. Here, all

three factors point to a high risk of anticompetitive harm. The

shared data in this case is current or future-looking, contains

information on individual leases and guest visits, and is

nonpublic. As in Todd, “[t]he characteristics of the data

exchange in this case are precisely those that arouse suspicion

of anticompetitive activity under the rule of reason.” Id.

at 213.

     The industry structure further supports the susceptibility

of the alleged conventional multifamily rental markets to

anticompetitive conduct. Todd, 275 F.3d at 207–08. Demand for

multifamily housing is inelastic because everyone needs a place


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to live. (Compl. ¶¶ 75–77.) Cf. Todd, 275 F.3d at 211. Many

areas are highly concentrated. (Compl. ¶¶ 79–80.) See also Todd,

275 F.3d at 208–09 (explaining that information sharing may also

be unlawful “despite a relatively large number of sellers”).

RealPage’s software is designed to make the pricing of rental

units more comparable between landlords: AIRM and YieldStar

provide price recommendations at a floor plan level that is

typically determined by bedroom count and bathrooms; they

identify peer properties by bedroom count; and they take steps

to standardize amenity nomenclature so that landlords can more

easily track each other’s amenity valuations. (Compl. ¶¶ 22, 42,

118–19.) See Todd, 275 F.3d at 209–11 (defendants “manufactured

a form of fungibility through sophisticated comparison

techniques”).

     Moreover, the analysis of industry structure and the nature

of the shared information help courts ascertain whether the

information can be used by competitors to coordinate with each

other. See Todd, 275 F.3d at 209, 211. Here that linkage is even

more direct. The information is shared for the purpose of

pricing, through software that is designed to “increase prices

as much as possible and minimize price decreases.” (Compl.

¶ 264.)




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       In summary, the Complaint plausibly alleges both direct and

indirect evidence of the anticompetitive effects of the

information exchange among Defendants and RealPage. Claim One

therefore satisfies both elements of Section 1 and survives

dismissal.

       C.    Defendants Create a Strawman Agreement

             1.   Defendants Challenge a Strawman Agreement Not
                  Actually Alleged in the Complaint

       Instead of challenging the agreement alleged in Claim One,

Defendants attack a strawman. Specifically, Defendants argue

that the Complaint does not allege that they “agreed among

themselves to use RMS.” (Joint Br. at 22.) (See also Joint Br.

at 21 (Plaintiffs “do not plead that Customer Defendants

licensed or used RealPage’s RMS in suspiciously similar ways.”),

23 (“Rather than allege Customer Defendants coordinated their

decisions to license RealPage’s RMS . . .”), 24 (“[F]ar from

alleging Customer Defendants use RealPage’s RMS in the same

way . . .”),8 25 (“Plaintiffs also fail to allege that Customer

Defendants used RealPage’s RMS in the same way.”) (emphases

added).)



8 The information-sharing agreement does not require that
Defendants use the same revenue management software, or even use
such software. Here, however, all Defendants use AIRM or
YieldStar, and AIRM and YieldStar both share a common pool of
nonpublic, competitively sensitive data. (Compl. ¶¶ 19, 260.)

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     Contrary to Defendants’ characterization, Claim One alleges

a horizontal agreement among Defendants, as well as an agreement

with RealPage, to share nonpublic, competitively sensitive

information that they know would be used by AIRM and YieldStar

to generate pricing recommendations and prices. (Compl. ¶ 260–

63.) The Complaint explicitly alleges a written agreement with

RealPage to share nonpublic, competitively sensitive data with

RealPage, and Defendants’ mutual knowledge and assent that

RealPage would use that shared data to create pricing

recommendations and prices for their competitors and them.

(Compl. ¶¶ 15–20.) Alternatively, the Court can infer a

horizontal agreement among Defendants from their parallel

actions in entering into agreements with RealPage and the plus

factors explained above. See supra Parts I.A.1. and I.A.2.

          2.    Defendants Misstate or Misapply Precedent

     Defendants misapply precedent to overstate the requirements

for pleading an agreement.

     First, Defendants contend that SD3 requires Plaintiffs to

plead the “when, who, what” of an agreement. (Joint Br. at 14—

19.) But SD3 did not establish such a requirement for the group

boycott claim alleged there, let alone the information-sharing

claim alleged here. Rather, the Fourth Circuit concluded that

allegations about the “time, place, and manner in which the


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boycott initially formed” provided the “requisite ‘more’” beyond

parallel conduct to plausibly allege a group boycott claim.

SD3, 801 F.3d at 429–30. But the Fourth Circuit did not suggest

that such allegations were necessary for all antitrust claims.

Indeed, the court also pointed to additional “plus factors,”

including meetings and communications among the defendants, as

plausibly suggesting an agreement. Id. at 432.

     Here, the Complaint alleges that each Defendant signed an

agreement with RealPage to share information that would be used

to generate pricing recommendations and prices for its

competitors, knowing that they would receive the same benefit in

return. (Compl. ¶¶ 18–20, 260–63.) The information is used to

increase rental prices and minimize price decreases. (Id.

¶¶ 264, 266.) The Complaint identifies the parties subject to

the information-sharing agreement as Defendants, RealPage, and

other landlords using AIRM, YieldStar, OneSite, PAB, or BI. (Id.

¶¶ 18–23.) The information sharing began when Defendants signed

agreements with RealPage, each knowing that the information

would be shared with and from competitors. (Id. ¶¶ 18–20.) See

Interstate Circuit, 306 U.S. at 227 (simultaneous action or

agreement is not required for Section 1).

     Where, as here, “the concerted conduct is both plainly

documented and readily available,” additional factual


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allegations about the concerted action are not necessary.

Robertson, 679 F.3d at 290 (rejecting defendants’ argument that

plaintiffs needed to plead “factual detail such as the times and

locations of the allegedly conspiratorial meetings” where the

plaintiffs pleaded facts about the contents of a written

agreement). See also, e.g., Starr v. Sony BMG Music Entm’t,

592 F.3d 314, 325 (2d Cir. 2010) (rejecting argument that

complaint must “identify the specific time, place, or person

related to each conspiracy allegation” where the complaint

alleges parallel conduct); Milliken & Co. v. CAN Holdings, Inc.,

2011 WL 3444013, at *5 & n.5 (W.D.N.C. Aug. 8, 2021) (rejecting

argument that plaintiff must identify the “who, what, when and

where,” and holding that the complaint must simply make the

claim “plausible on its face”).

     Second, Defendants rely on three other district court

decisions relating to algorithmic pricing. These cases do not

support their motions to dismiss for two simple reasons: all

involved price-fixing claims and two of them (Gibson and

Cornish-Adebiyi) disclaimed any sharing of competitively

sensitive information among the alleged conspirators. See Gibson

v. Cendyn Grp., LLC, 2024 WL 2060260, at *3-4 (D. Nev. May 8,

2024); Cornish-Adebiyi v. Caesars Entm’t., Inc.,

2024 WL 4356188, at *1 (D.N.J. Sept. 30, 2024); In re Passenger


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Vehicle Replacement Tires Antitrust Litig., 2025 WL 606533,

at *1 (N.D. Ohio Feb. 25, 2025).9 None alleged a written

agreement to share confidential, competitively sensitive

information as a separate and distinct concerted action in

violation of the antitrust laws.

       Gibson is instructive. Defendants rely on the case

repeatedly, citing it roughly 20 times across 16 pages. There,

the district court dismissed claims that hotel operators agreed

to use the same software to fix hotel room prices.

2024 WL 2060260, at *1, *3. The decision turned on the

plaintiffs’ “failure to plausibly allege the exchange of

confidential information,” which the court considered a “fatal

defect.” Id. at *5 (emphasis added). The Gibson court relied on

this shortcoming to distinguish the RealPage MDL decision.

2024 WL 2060260 at *4. The Gibson court even acknowledged that

“exchanging confidential data with your competitors” through

revenue management software “would be more suggestive of an




9 Defendants cite a fourth case, Segal v. Amadeus IT Group, S.A.,
2025 WL 963751 (N.D. Ill. Mar. 31, 2025). That court dismissed
the complaint without prejudice after noting that the plaintiff
abandoned a price-fixing claim and asserted contradictory
theories of anticompetitive effects related to information
sharing of occupancy data (but not pricing data). Id. at *5–6 &
n.5. By contrast, Plaintiffs’ Complaint does not contain such
contradictions as to how the shared information harms
competition.

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agreement” to fix prices. Id. at *7 (emphasis added). What the

Gibson plaintiffs failed to allege, i.e., the exchange of

confidential, competitively sensitive data, the Complaint

alleges in abundant detail. (Compl. ¶¶ 15–27, 40–58 (explaining

how AIRM and YieldStar use nonpublic data from Defendants and

other landlords to generate pricing recommendations and prices

for competing landlords).)

     While leaning heavily on Gibson, Defendants offer no

persuasive rationale for distinguishing the RealPage MDL

decision. Defendants make only two arguments. (Joint Br. at 26.)

First, they note that the RealPage MDL complaint alleged

different acceptance rates. This ignores the Complaint’s

allegations regarding the influence of AIRM and YieldStar on

pricing. (Compl. ¶¶ 73–74.) More importantly, the acceptance

rate argument is a red herring. Each Defendant agreed to share

competitively sensitive data with RealPage and its competitors.

That information was shared and used for pricing by AIRM and

YieldStar regardless of how frequently that Defendant accepted a

pricing recommendation from the software for a particular floor

plan on a given day.

     Second, Defendants attempt to distinguish the RealPage MDL

decision on the ground that using revenue management software

serves their self-interest. (Joint Br. at 27.) This argument


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conflates two distinct issues:     (1) the use of some type of

revenue management software without others’ participation; and

(2) the sharing of competitively sensitive information to run

revenue management software, which evinces a collective

endeavor. Plaintiffs acknowledge, and indeed allege, that there

are less restrictive alternatives available to RealPage and

Defendants that do not involve the exchange of competitively

sensitive data for use in pricing. (Compl. ¶ 269.) Defendants

cannot defend their agreement to share their competitively

sensitive information as serving their independent self-

interest.

             3.   Defendants Are Wrong on the Plus Factors

     Finally, Defendants argue that there are no plus factors

supporting an inferred agreement from parallel conduct. (Joint

Br. at 28-32.) That is wrong. As explained above, the Court need

not infer an agreement because the Complaint alleges a written

agreement to share information among RealPage, Defendants, and

other landlords. Nevertheless, as also explained above, the

Complaint pleads plus factors supporting the inference of an

agreement.

     First, Defendants say the Complaint pleads no acts against

their self-interest. (Joint Br. at 29-30.) That ignores the

detailed allegations that Defendants agree to share their


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nonpublic, competitively sensitive information with competitors

so that those competitors can use it to price their units, which

is against their independent self-interest unless they receive

shared information in return. (Compl. ¶¶ 15–16, 18–20, 23–27.)

See RealPage MDL, 709 F. Supp. 3d at 510 (“Put another way, the

contribution of sensitive pricing and supply data for use by

RealPage to recommend prices for competitor units is in

Defendants’ economic self-interest if and only if Defendants

know they are receiving in return the benefit of their

competitors' data in pricing their own units.”).

     Defendants again mischaracterize the Complaint, arguing

that Plaintiffs do not plead that “using RealPage’s RMS is

against any Customer Defendant’s self-interest.” (Joint Br.

at 29-30 (“[T]here are many independent reasons why a Customer

Defendant would license RealPage’s RMS . . . .”) (emphases

added).) Claim One challenges an unlawful agreement to share

information for use in pricing, not an agreement among

Defendants to license or use AIRM or YieldStar. Defendants also

rely on cases that do not involve the sharing of nonpublic data.

See Maple Flooring Mfrs.’ Ass’n v. United States, 268 U.S. 563,

585–86 (1925) (holding that the sharing of certain information

that was openly published in trade journals and by the federal

government was not unlawful); Gibson, 2024 WL 2060260, at *7


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(“In sum, the Court does not find that Plaintiffs have plausibly

alleged that Hotel Defendants exchange confidential information

with each other–directly or indirectly–by using GuestRev.”).

     Second, Defendants argue that there were “no unusual

communications” among them. (Joint Br. at 30-31.) That argument

ignores detailed allegations of improper communications of

competitively sensitive data across 14 pages and more than 30

paragraphs. (Compl. ¶¶ 82–117.) They try to justify this willful

blindness by cabining the scope of improper communications to

ones “about using RealPage.” (Joint Br. at 30.) But that gives

short shrift to the many allegations just on that topic. (See,

e.g., Compl. ¶¶ 88–90, 93, 97, 105–06, 110–11, 113.) To say it

again, the alleged agreement among Defendants is to share

competitively sensitive information, not to use AIRM or

YieldStar. Defendants therefore miss the mark.

     Third, Defendants ignore the Complaint’s allegations about

their motive to enter into an information-sharing agreement to

increase their profits. (See, e.g., Compl. ¶¶ 16, 20.) See SD3,

801 F.3d at 431 (“Motivation for common action is a key

circumstantial fact” (quotation omitted)). They instead attack

the allegations about industry structure but fail to address the

relevant factors as set forth in Todd, including inelastic

demand, 275 F.3d at 207–11, and the steps RealPage and


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Defendants take to facilitate comparisons among their rental

units (Compl. ¶¶ 118–19). And, as Todd keenly observed, players

in a less concentrated market may be “most in need of . . . data

exchange arrangements in order to facilitate price

coordination.” 275 F.3d at 209.10

        In summary, Defendants fail in their joint brief to assail

the plausibility of the Complaint’s allegations regarding the

information-sharing claim.

        D.   Individual Defendants’ Arguments Also Fail to Justify
             Dismissal

        Several Defendants submitted individual motions and briefs

in which they adopted the same arguments as in their joint brief

and, in some cases, made additional arguments. The individual

motions to dismiss Claim One fail for the same reasons explained

above. And, as explained below, the additional reasons raised in

individual briefs fail to muster any independent basis to

dismiss the Complaint. These individual motions should be denied

as well.




10Defendants cite Liggett Group, Inc. v. Brown & Williamson
Tobacco Corp., 964 F.2d 335 (4th Cir. 1992), for the proposition
that “mere participation in an oligopolistic market” is not
illegal. (Joint Br. at 32.) But Plaintiffs do not allege “mere
participation.” Claim One alleges Defendants and other landlords
actively share nonpublic, competitively sensitive information
for the purpose of enabling them to extract higher rents from
renters. (Compl. ¶¶ 259-64.)

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             1.    Camden

        Camden’s motion is, at its core, an improper attempt to

create factual disputes by introducing evidence outside the

Complaint rather than challenge the sufficiency of the

allegations as pled.

                   a.    Camden Improperly Relies on Numerous Factual
                         Allegations and Public Statements Outside
                         the Complaint

        Camden’s brief—including almost all of Camden’s four-page

“Statement of Facts and Relevant Allegations”—asserts purported

facts not alleged in the Complaint, including many that

contradict it.11 In so doing, the motion improperly attempts to

“resolve contests surrounding the facts, the merits of a claim,

or the applicability of defenses.” Republican Party of North

Carolina, 980 F.2d at 952. None of Camden’s assertions falls

within the narrow exceptions for extrinsic evidence



11(See Doc. 134 (“Camden Br.”) at 1, 5 (discussing Camden’s
business practices fifteen years before AIRM existed); at 2–3,
13 (quoting investor relations materials—SEC filings, website
pages, and earnings calls—as “factor[s] weighing against
Plaintiffs’ claims”); at 3 (alluding to “pre-complaint
productions”-but failing to identify them in any way); at 3
(pace of product adoption refutes existence of a conspiracy);
at 4, 8 (offering statements about Camden’s intent and actions
regarding rental pricing during COVID); at 5 (alleging facts
regarding RealPage’s acquisition of LRO); at 6–7 (alleging facts
about Camden’s public disclosures).) (Compare Camden Br. at 5-6
with Compl. ¶¶ 90-92, 94 (mischaracterizing statements in the
Complaint).)


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(1) explicitly incorporated by reference or (2) attached to the

complaint. Goines v. Valley Cmty. Servs. Bd., 822 F.3d 159, 165–

66 (4th Cir. 2016). Because Camden’s approach is inconsistent

with black-letter law governing Rule 12(b)(6) motions, its

motion should be denied.12

                   b.    Camden Fails to Address the Alleged
                         Agreement to Share Information with RealPage
                         and Other Landlords

        After raising numerous arguments outside the Complaint,

Camden’s brief is notable for what it does not contain: any

legal reason why the well-pled allegations are insufficient to

survive a motion to dismiss. Camden deploys the same strategy as

Defendants in their joint brief. It argues that there was no

“unlawful agreement to use the same software.” (Camden Br.

at 3.) But that is not what Claim One alleges. See supra

Part I.A. (See Compl. ¶ 238.) Camden fails to show why the




12In particular, Camden argues that it did not share nonpublic
data and that the examples of its communications in the
Complaint are “the same type of information Camden provided to
the public.” (Camden Br. at 13.) This argument improperly relies
on extrinsic evidence and misconstrues the Complaint, both
ineffectual to warrant dismissal for the reasons stated.
Moreover, Camden attempts to generate a factual dispute over
whether its supposed public statements disclosed the same
information as it exchanged privately with competitors. That is
precisely the kind of issue that courts are barred from
resolving on a Rule 12(b)(6) motion. Republican Party of North
Carolina, 980 F.2d at 952.


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allegations are insufficient, and it also mischaracterizes the

Complaint to suggest that its participation consisted of only a

few communications. For these reasons, Camden’s motion should be

denied as well.13

             2.    LivCor

        LivCor reiterates that Plaintiffs failed to allege that it

“agreed with any competitors to use RealPage products.”

(Doc. 136 (“LivCor Br.”) at 1-2.) LivCor further contends that

Plaintiffs failed to allege supracompetitive prices. (Id. at 2.)

These arguments fail for the same reasons already discussed. See

supra Part I.C.

        Moreover, bolstering the allegations of a horizontal

agreement, the Complaint details LivCor’s participation in

RealPage-sponsored user group meetings and sharing of

competitively sensitive information, such as managing lease

expirations, pricing amenities, the use of concessions, pricing

strategies, and strategies for managing the COVID-19 pandemic.

(Compl. ¶¶ 103, 106, 108–11.) Far from being “sparse,” (LivCor




13Camden argues in passing that it “cannot give Plaintiffs the
relief they seek.” (Camden Br. at 1.) That makes no sense. The
Complaint alleges Camden participated in an illegal information
exchange facilitated by RealPage’s software platform. Camden may
therefore cease its participation in this exchange as part of
any relief obtained in this action.

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Br. at 6), these allegations paint a picture of LivCor as an

active participant in the information exchange. (Id. ¶¶ 18, 20,

106, 108–11.) LivCor further attempts to distinguish between

conversations in the user group meetings and conversations with

competitors outside of this context. (LivCor Br. at 6-10.) Both

channels of information sharing, however, demonstrate motive

among Defendants to enter into an agreement to share

competitively sensitive information with each other through

RealPage.

     LivCor’s reliance on City of Pontiac Police & Fire Ret.

Sys. v. BNP Paribas Secs. Corp., 92 F.4th 381 (2d Cir. 2024), is

woefully misplaced. There, the plaintiffs relied on “five

bilateral chat excerpts confined to one full year” to allege an

agreement. Id. at 399. Here, however, the core of the Complaint

alleges systemic and pervasive information-sharing by LivCor,

among others. See supra Part I.B. And the additional allegations

specific to LivCor are far more regular, numerous, and enduring

than in Pontiac Police & Fire. (Compl. ¶¶ 102, 111.)

Additionally, the Complaint explains that LivCor provided

future-looking information to a competing landlord, Camden,

which resulted in Camden deciding to raise renewal caps to equal

LivCor’s. (Id. ¶ 91.)




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     LivCor fares no better in relying on Consolidated Metal

Products, Inc. v. Am. Petroleum Institute, 846 F.2d 284

(5th Cir. 1988), for the proposition that a “‘mere exchange of

information’ without alleging that LivCor charged

supracompetitive prices . . . ‘is insufficient to establish a

conspiracy under section 1.’” (LivCor Br. at 5 (quoting Consol.

Metal Prods., 846 F.2d at 294 n.30).) But the Fifth Circuit did

not limit the harms cognizable under the rule of reason to

supracompetitive prices, as LivCor asserts. And even if it had,

a summary judgment decision has no bearing on whether

Plaintiffs, on a motion to dismiss, have plausibly pleaded the

unreasonableness element under Section 1.

     LivCor miscites U.S. Gypsum, 438 U.S. at 443 n.16, to claim

that an “information exchange [is] not necessarily

anticompetitive and thus insufficient for antitrust liability.”

(LivCor Br. at 5.) That turns U.S. Gypsum on its head. In

observing that information exchanges standing alone were not per

se illegal, the Supreme Court did not suggest that they were per

se legal. To the contrary, in the very footnote that LivCor

cites, the Court explained that “[e]xchanges of current price

information, of course, have the greatest potential for

generating anticompetitive effects and although not per se

unlawful have consistently been held to violate the Sherman


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Act.” 438 U.S. at 443 n.16 (emphases added). LivCor ignores the

allegations in the Complaint explaining how this information-

sharing agreement falls squarely within the category of

exchanges that the U.S. Gypsum Court viewed as anticompetitive.

See supra Part I.B.

             3.    Pinnacle

         Pinnacle argues that the Complaint relies on impermissible

group pleading, that the Complaint does not show an agreement

between Pinnacle and its competitors and RealPage, and that the

Complaint does not allege anticompetitive effects. (Doc. 138

(“Pinnacle Br.”) at 13-15.)14 Pinnacle is wrong on all counts.

        As explained, the Complaint plausibly alleges an agreement

to share information for use in pricing among each Defendant

(including Pinnacle) and RealPage. See supra Part I.A. (Compl.

¶¶ 15–23.) In addition, the Complaint provides additional

details about Pinnacle’s involvement in regular landlord

exchanges of competitively sensitive information with

competitors. For example, Pinnacle encouraged its employees to




14Pinnacle is a subsidiary of defendant Cushman & Wakefield,
Inc., which Plaintiffs have voluntarily dismissed from the
Complaint. Pinnacle does business as Cushman & Wakefield
throughout the United States. The dismissal of Cushman &
Wakefield, Inc. renders moot the motions it submitted in the
same brief to dismiss under Rules (12)(b)(2)(personal
jurisdiction) and 12(b)(3) (venue).

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call competitors to gain insight “into the very specific handful

of competitors closest to the subject property”; admitted that

information sharing among competitors was “prevalent in our

industry for a long time”; shared tips with other landlords for

meeting regularly and    collecting information about concessions

and net effective rents; and planned with Willow Bridge to hold

revenue management executive calls, and other similar activity.

(Id. ¶¶ 83–85, 88–89, 98.) These allegations meet the Twombly

standard. See supra Part I.A. The Complaint also alleges the

anticompetitive effects of these agreements. See Part I.B. To

the extent Pinnacle claims the Complaint alleges only that it

exchanged the information contained in the communications cited

in Paragraphs 83-89 and 140, it is mistaken. Pinnacle would have

the Court overlook the remainder of the Complaint.

     Second, Pinnacle pulls out a red herring: it argues that it

is not a landlord because it does not own properties, claiming

that the Complaint’s allegations therefore do not apply to it.

(Pinnacle Br. at 14-15.) This argument draws “‘an artificial

distinction’ at the expense of substance.” Copperweld Corp. v.

Indep. Tube Corp., 467 U.S. 752, 763 (1984). The Complaint

defines “landlord” to include not only property owners, but also

management and operating companies that set rents and other

lease terms at multifamily properties such as Pinnacle. (Compl.


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¶ 5 n.1.) The antitrust laws do not limit liability to property

owners. United States v. Wise, 370 U.S. 405, 416 (1962) (holding

that antitrust liability adheres to knowing participants

“regardless of whether he is acting in a representative

capacity”); 15 U.S.C. § 24 (2018) (providing that liability

extends to “agents”). Nor does every conspirator need to harbor

the exact same motive or behave identically for liability to

attach. See United States v. Foley, 598 F.2d 1323, 1332-34 (4th

Cir. 1979). The Sherman Act requires only proof that a defendant

entered into an agreement that imposed an unreasonable restraint

of trade, SD3, 801 F.3d at 424, which the Complaint alleges

Pinnacle did.15

        Pinnacle, like other Defendants, asks this Court to go

beyond the Complaint and make factual determinations, such as

assessing the incentives of property managers. These are

extrinsic factual inquiries inappropriate for consideration at



15Similarly, property managers are among the defendants in the
RealPage MDL and remained in the case after the motion to
dismiss was decided. See RealPage MDL, 709 F. Supp. 3d at 494
(noting that RealPage’s “RMS” clients “include owners of
residential properties, companies that serve as both owners and
operators of residential properties, and property management
companies”). Property managers are also among the defendants in
another case against a different revenue management provider.
Duffy v. Yardi Sys., Inc., 758 F. Supp. 3d 1283, 1288 (W.D.
Wash. 2024).


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the Rule 12(b)(6) stage. See SD3, 801 F.3d at 425-26; Logar v.

W. Virginia Univ. Bd. of Governors, 493 F. App’x 460, 461 (4th

Cir. 2012). That holds for other requests to consider alleged

extraneous factual material. For example, Pinnacle speculates

that the Complaint’s reference to its expectation that its

properties continue undertaking “traditional” market surveys of

close competitors, (Compl. ¶ 84), must mean that these are

surveys of publicly available information. That contradicts the

allegations in the Complaint, however. (Id. ¶¶ 82–84 (“Landlords

regularly solicit and obtain nonpublic information about

inquiries by prospective renters, occupancy, and rents from

their direct competitors.”).)

     Third, Pinnacle misstates or tries to avoid several of the

allegations in the Complaint. (Pinnacle Br. at 15-21.) The

allegations support the “plus factors” in the Plaintiffs’

information-sharing claim, by showing broad communications and

exchanges of competitively sensitive information among

landlords. See supra Part I.A. The Complaint also points to

Pinnacle’s recognition of the anticompetitive potential of

sharing detailed landlord competitor data. (Compl. ¶ 140.)

     Finally, Pinnacle pretends Plaintiffs claim only that

Pinnacle's individual agreement with RealPage was

anticompetitive and that Plaintiffs must allege specific


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anticompetitive effects of that agreement. (Pinnacle Br. at 22.)

But as explained in Part I.B., the Complaint alleges an

agreement among Pinnacle and other landlords to share

competitively sensitive information through RealPage and among

themselves, and describes clearly the granular information

exchanged. The Complaint alleges direct and indirect evidence

that this conduct in the aggregate had anticompetitive effects,

see supra Part I.B., and the relevant markets in which

competition has been harmed. (Compl. ¶¶ 209–11, 214–17, and

App’xs A & B.) Plaintiffs are not required to plead with hyper-

specificity in the way that Pinnacle desires. See supra

Part I.C.2 (discussing pleading standards).

          4.    Willow Bridge

     Willow Bridge not only mischaracterizes Claim One but, like

other Defendants, ignores the factual allegations describing the

alleged agreements. It misreads Claim One to allege that it

“licensed or used RealPage’s RMS in a suspiciously similar way

to another Customer-Defendant.” (Doc. 139 (“Willow Bridge Br.”)

at 6.) As with other Defendants, however, the Complaint

unambiguously alleges that Willow Bridge entered into an

agreement with RealPage to share its detailed transactional data

and agreed for this data to be shared with other landlords.

(Compl. ¶¶ 260, 263.)


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       Willow Bridge attempts to reframe its use of competitors’

data as “unilateral business conduct.” (Willow Bridge Br. at 4.)

But what Willow Bridge characterizes as “unilateral business

conduct”—such as having and leveraging competitors’ “behind the

scenes” data—simply describes its motivations for engaging in

concerted action with its competitors. (Id. at 4; Compl. ¶¶ 19,

26.)

       Willow Bridge’s conduct detailed in the Complaint was not

unilateral. As an AIRM user, Willow Bridge agreed to share its

nonpublic, competitively sensitive data with RealPage and with

competing landlords. (Compl. ¶¶ 257, 260, 263.) Willow Bridge

also shared confidential information through meetings with other

landlords. As one example, Willow Bridge joined a call with

other landlords regarding the use of concessions and pricing

strategies. (Id. ¶ 97.) A Willow Bridge representative discussed

concessions in a user group meeting. (Id. ¶ 109.) In a different

user group meeting, a Willow Bridge employee suggested acting in

unison with other landlords to push rates above recommendations.

(Id. ¶ 110.) Finally, Willow Bridge agreed to participate in a

meeting with a “tight” group of other landlords to discuss

market conditions, their use of YieldStar, and strategy plans.

(Id. ¶ 88.) As explained above, all of these examples support




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the existence of an agreement among landlords and RealPage to

share competitively sensitive information. See supra Part I.A.


II.   Claim Two States a Plausible Claim Against Defendants for
      Agreeing with RealPage to Align Pricing

      A.   The Agreement Between Each Defendant and RealPage to
           Use AIRM or YieldStar in Setting Rental Prices
           Constitutes Concerted Action

      Claim Two alleges that Defendants agreed with RealPage to

use AIRM and YieldStar, which are designed to align the pricing

processes, strategies, and pricing responses of users, including

Defendants. Like their agreements with RealPage to share their

nonpublic, competitively sensitive lease transaction data with

other landlords, each Defendant’s agreement with RealPage to

license and use AIRM or YieldStar also satisfies Section 1’s

concerted action requirement. (Compl. ¶¶ 28, 271.) As the Fourth

Circuit has held, “[p]roof of concerted action requires evidence

of a relationship between at least two legally distinct persons

and entities.” Oksanen v. Page Mem. Hosp., 945 F.2d 696, 702

(4th Cir. 1991). Accord Robertson, 679 F.3d at 284. Here, each

Defendant and RealPage are unquestionably legally distinct

entities, and an agreement to license and use AIRM or YieldStar

unambiguously creates a relationship between them.

      The fact that the relationship in question is between a

seller/licensor and a buyer/licensee of revenue management


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software does not take it out of the purview of Section 1. As

noted earlier, Section 1 applies to “[e]very contract,

combination . . ., or conspiracy.” 15 U.S.C. § 1 (2018)

(emphasis added). At issue here are contracts between Defendants

and RealPage, plain and simple. There is no need to scour the

allegations of the Complaint for a conspiracy when a contract

suffices under Section 1.

     Contracts for software and related services are no

different than any other type of concerted action cognizable

under Section 1. See, e.g., Systemcare, Inc. v. Wang Labs.

Corp., 117 F.3d 1137, 1145 (10th Cir. 1997) (holding that a

contract for the sale of hardware and software support services

provided by Wang to Systemcare was subject to scrutiny as

imposing unlawful tying arrangement); Epic Games, Inc. v. Apple,

Inc., 67 F.4th 946, 982 (9th Cir. 2023) (reversing the district

court’s holding that Apple’s developer program licensing

agreement is “exempt from antitrust scrutiny simply because one

party reluctant[ly] accepted its terms” because that

“would . . . read the word[] ‘contract’ out of the statute”

(quoting Systemcare, 117 F.3d at 1143) (internal quotations and

brackets omitted)).

     Importantly, the agreements between each Defendant and

RealPage to license and use AIRM or YieldStar “deprives the


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marketplace of independent centers of decisionmaking” by joining

“separate economic actors pursuing separate economic interests.”

Robertson, 679 F.3d at 285. Stated another way, the agreements

reflect “a unity of purpose or a common design and

understanding, or a meeting of the minds.” N.C. State Bd. of

Dental Exam’rs v. FTC, 717 F.3d 359, 372 (4th Cir. 2013), aff’d,

574 U.S. 494 (2015).

     As detailed in the Complaint, RealPage designed AIRM and

YieldStar to restrain how landlords price their rental units in

competition with one another. (Compl. ¶ 272.) In RealPage’s own

words, the software “helps curb [landlords’] instincts to

respond to down-market conditions by either dramatically

lowering price or by holding price when they are losing velocity

and/or occupancy.” (Id. ¶ 1.) It “ensures that [landlords] are

driving every possible opportunity to increase price even in the

most downward trending or unexpected conditions.” (Id.)

     Moreover, if enough landlords license and use AIRM and

YieldStar, then they would “likely move in unison versus against

each other” because “there is greater good in everybody

succeeding versus essentially trying to compete against one

another in a way that actually keeps the entire industry down.”

(Compl. ¶ 2; see also id. ¶ 32.) RealPage’s competition-

restraining approach to pricing rental units even comes with a


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metaphor that aptly describes the common scheme to achieve an

unlawful objective: “a rising tide raises all ships.” (Id. ¶¶ 1,

32, 121.)

     In choosing to license and use AIRM or YieldStar,

Defendants consciously commit to this common scheme to achieve

an unlawful objective—they each want their ship to be raised by

the rising tide. (Compl. ¶¶ 28–33, 122, 129.) Some landlords,

like Willow Bridge, even go so far as to reference RealPage’s

“rising tide” metaphor to explain how AIRM amplifies market

trends and leads landlords to move pricing in a similar manner.

(Id. ¶ 33.) Landlords that license AIRM or YieldStar understand

the intended effect of using the software is to align their

pricing of rental units, as RealPage has pitched to them, and it

is a reason why they sign up to use the software. (Id. ¶ 273.)

Landlord users discuss their usage with other landlord users in

user group meetings and other joint settings. (Id. ¶¶ 102–17,

273.) They also send their employees to trainings and

certification programs to ensure that their staff fully

appreciate the objectives of and benefits from using AIRM and

YieldStar, including the opportunity to leverage the lease

transaction data that landlords have unlawfully shared with and

through RealPage. (Id. ¶¶ 20, 122, 156, 167.)




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     In summary, RealPage has designed AIRM and YieldStar to

restrain how landlords price their rental units. Those

restraints are based in part on the software’s analysis of the

lease transaction data that landlords have shared directly with

RealPage and indirectly with each other. (Compl. ¶¶ 40–58.) They

also include a common set of tools and features, which are

described more fully in the next section. (Id. ¶¶ 69, 72, 142–

56.) Importantly, the software as designed causes each landlord

user’s pricing processes, strategies, and responses to be

aligned with other landlord users. (Id. ¶¶ 272, 275, 277.) This

reduces the need for landlords to directly communicate and

coordinate with each other on pricing.

     By licensing AIRM or YieldStar, each landlord, including

Defendants, agrees with RealPage to use the software as it has

been designed–understanding that other landlords are doing the

same–and thereby realizes the objectives and benefits that

RealPage has touted. (Compl. ¶¶ 271–73.) As alleged, the

licensing agreements for AIRM and YieldStar satisfy the legal

requirement of a conscious commitment to a common scheme to

achieve an unlawful objective, a unity of purpose, or a common

design and understanding between each landlord user and

RealPage.




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        B.   Collectively, the Agreements Between Each Defendant
             and RealPage to Use AIRM or YieldStar in Setting
             Rental Prices Impose an Unreasonable Restraint of
             Trade

        As stated above, the second element of a Section 1

violation requires showing that the agreements between each

landlord, including Defendants, and RealPage to license and use

AIRM or YieldStar have “imposed an unreasonable restraint of

trade.” Robertson, 679 F.3d at 290. On a motion to dismiss, the

question is whether the Complaint asserts facts “which plausibly

suggest that [these agreements] harmed market competition.” Id.

The inquiry involves evaluating the reasonableness of a

restraint “based on its impact on competition as a whole within

the relevant market.” Oksanen, 945 F.2d at 708.

        If the license agreements between landlords and RealPage

were horizontal restraints, they would be per se unlawful. Am.

Express, 585 U.S. at 541. As the parties (landlords and

RealPage) are not competitors in the relevant market, their

agreements are considered vertical restraints, for which

unreasonableness is typically judged under the “rule of reason.”

Id. at 540–41.16 But contrary to Defendants’ characterization,

(Joint Br. at 37–38), while these agreements are vertical



16As explained in footnote 5 supra, the Court need not decide at
this stage exactly what method of analysis should apply in the
factual assessment of unreasonableness.

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restraints, they are not “[t]he classic type” involving “‘an

agreement between firms at different levels of distribution,’

such as between a manufacturer and its dealers.” Teradata Corp.

v. SAP SE, 124 F.4th 555, 572 (9th Cir. 2024) (quoting Am.

Express, 585 U.S. at 541). See Bus. Elecs. Corp. v. Sharp Elecs.

Corp., 485 U.S. 717, 729 (1988); United States v. Brewbaker,

87 F.4th 563, 571 (4th Cir. 2023). Instead, as noted above,

these agreements create a licensor/licensee or seller/buyer

relationship between RealPage and a landlord with respect to

AIRM or YieldStar.17

        The distinction is important because courts have come to

view the classic type of vertical restraints as potentially

benefitting interbrand competition, e.g., competition between

manufacturers of different brands of competing products—even

though they can harm intrabrand competition, e.g., competition

among wholesalers or retailers selling the same brand from a




17By way of further explanation, RealPage and landlords do not
occupy different levels of distribution for landlords; they are
not links in a distribution chain. RealPage does not develop
conventional multifamily rental housing, nor is it a seller or
broker of conventional multifamily rental housing. See
Brewbaker, 87 F.4th at 571 n.3 (explaining a vertical agreement
as between a manufacturer like Nike and retailers such as Foot
Locker or Dick’s Sporting Goods). Instead, RealPage designs and
sells software for generating recommended floor plan prices and
unit-level prices, which landlords license and buy for their own
use, not for distribution and resale to renters.

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particular manufacturer. See Cont’l T.V., Inc. v. GTE Sylvania

Inc., 433 U.S. 36, 52 & n.19 (1977). Interbrand competition is

the “primary concern of antitrust law.” Id.; see also Leegin

Creative Leather Prods., Inc. v. PSKS, Inc., 551 U.S. 877, 890

(2007). The license agreements for AIRM and YieldStar are not

vertical restraints in the classic sense, and the agreements

here offer no potential benefits to interbrand competition.

     Turning then to the anticompetitive effects of the AIRM and

YieldStar license agreements, the Complaint plausibly alleges

both direct and indirect evidence of such effects. As explained

in Am. Express, “demonstrat[ing] anticompetitive effects” in a

relevant market includes showing that the challenged restraints

“otherwise stifled competition” in that market. 585 U.S. at 547.

An agreement that limits consumer choice “by impeding the

‘ordinary give and take of the market place,’ . . . cannot be

sustained under the Rule of Reason.” Ind. Fed’n of Dentists,

476 U.S. at 459 (quoting Nat’l Soc’y of Prof’l Eng’rs v. United

States, 435 U.S. 679, 692 (1978)).

     The Complaint alleges direct evidence of the

anticompetitive effects comes from the very design of RealPage’s

software, which (1) constrains how landlords price their rental

units, i.e., the processes, strategies, and responses they use

to set floor-plan rates and unit-level rates, and (2) in so


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doing, aligns their pricing in any given local rental market.

(Compl. ¶¶ 120–162, 272, 277.) These are shown through five

examples of anticompetitive conduct specifically alleged in

Sections IV.A through IV.D of the Complaint.

     First, AIRM and YieldStar use the lease transaction data

shared by landlords to predict with more certainty the highest

price that the market will bear for a particular unit. (Compl.

¶ 126.) As a result, a landlord is less likely to negotiate on

price, and any potential negotiation with renters instead turns

on lease term and move-in date, which AIRM and YieldStar adjust

the pricing for to avoid “overexposure for the landlord in the

future.” (Id.) Landlords that license and use AIRM or YieldStar

will tend to adopt the same approach to negotiating with

renters, which leads to less competition.

     Second, RealPage designed AIRM and YieldStar to place

certain “guardrails” on the extent to which landlords can change

their pricing. For example, there is a “hard floor” that ensures

the recommended floor-plan price will not fall below what the

software defines as the “market minimum effective rent.” (Compl.

¶ 143.) This feature too relies on the lease transaction data

that landlords share with each other through RealPage, and it

also ensures that all landlords using AIRM or YieldStar in a

given local rental market receive recommended floor-plan prices


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that never fall below a set minimum for that market. (Id.)

Another guardrail is “revenue protection” mode. This mandatory

guardrail uses competitors’ nonpublic data to effectively lower

target occupancy and reduce price decreases. (Id. ¶¶ 144–48.)

     Third, the use of AIRM and YieldStar leads to alignment in

pricing through the active discouragement of “concessions,”

i.e., offering discounts in rent or waived fees as part of the

negotiation process between a landlord and a prospective renter.

(Compl. ¶ 153.) Instead, landlords are taught to negotiate using

a matrix of recommended prices generated by the software, and to

go into negotiations with the confidence that the software is

“managing your Price,” taking the guesswork out of the process.

(Id. ¶ 156.)

     Fourth, RealPage designed AIRM and YieldStar to leverage

the lease transaction data that landlords share with each other

through RealPage in “lease expiration management,” i.e., setting

a landlord’s unit-level pricing in a way that avoids too many

units becoming available in the market at the same time. (Compl.

¶¶ 157–58.) The intent behind this feature is self-evident: if

too many leases expire at the same time, then the landlord will

have too many vacant units on the market and may be incentivized

to lower rental prices to compete for renters. By using the

software, however, landlords can ensure that such scenarios do


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not occur, thereby eliminating the risk of ruinous price

competition in their local rental markets.

     Fifth, AIRM and YieldStar commonly use nonpublic data from

surrogates for many properties to construct a property’s “market

response curve.” (Compl. ¶¶ 49, 51.) The market response curve

estimates how renters’ demand for a floor plan will respond to

changes in rent. (Id. ¶ 49.) That curve is pivotal to

determining the recommended floor plan price. (Id. ¶¶ 49, 51.)

As the surrogate sets of two competing properties become closer,

their market response curves become more aligned and AIRM and

YieldStar will generate increasingly similar prices. (Id.)

     All five examples above illustrate the myriad ways in which

the use of AIRM or YieldStar limits pricing behavior of

landlords that might otherwise prevail under competitive

conditions, and in so doing, brings the pricing behavior of

competing landlords into alignment. These are all classic

anticompetitive effects proscribed by Section 1. Paraphrasing

the Supreme Court, the licensing and use of AIRM and YieldStar

by landlords “is likely enough to disrupt the proper functioning

of the price-setting mechanism of the market that it may be

condemned even absent proof that it resulted in higher

prices . . . than would occur in its absence.” Ind. Fed’n of

Dentists, 476 U.S. at 461–62.


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     Additionally, the Complaint plausibly alleges indirect

evidence of anticompetitive effects, i.e., “proof of market

power plus some evidence that the challenged restraint harms

competition.” Am. Express, 585 U.S. at 542. Specifically, the

use of AIRM and YieldStar affects not just the renters whose

landlords use the products, but competition in certain local

markets. (Compl. ¶¶ 183, 200, 208–11, 214–17, App’xs A and B,

Tables 1 and 2 (identifying local markets and relevant

penetration rates).) Put simply, in these identified markets,

there are enough landlords and rental properties using AIRM and

YieldStar for the software to achieve its intended objective of

restraining normal price competition in favor of alignment, such

that, to use RealPage’s metaphor, “a rising tide raises all

ships.” (E.g., id. ¶¶ 1–2, 28–33, 121–33.)

     Indirect evidence of anticompetitive effects also requires

“some evidence” that the agreements to license and use AIRM and

YieldStar harm competition. Am. Express, 585 U.S. at 542. The

Complaint more than satisfies this requirement with the many

allegations of how the software is designed to constrain the

full range of pricing behavior that landlords would otherwise

display under competitive conditions. (See, e.g., Compl. ¶¶ 121–

37, 142–52, 153–56.) The natural tendency of this pricing

alignment is to raise prices. (Id. ¶¶ 1–2, 33, 120–30, 142–48.)


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     C.   Defendants’ Attacks on Claim Two Miss the Mark

     In their motions to dismiss, Defendants also resort to

attacking Claim Two with strawman arguments—mischaracterizing

the challenged agreements and invoking inapplicable case law.

They first argue that Plaintiffs “allege no facts plausibly

suggesting any Customer Defendant agreed with RealPage to align

prices through its RMS.” (Joint Br. at 32 (emphasis added).) But

that is not what Claim Two alleges. The alignment caused by AIRM

and YieldStar is in the process by which landlord users price

their rental units, not necessarily in the ultimate prices they

set for any given floor plan or unit. The harm to competition

that follows, as explained by the Supreme Court in Ind. Fed’n of

Dentists, comes from “impeding the ‘ordinary give and take of

the market place’” and “disrupt[ing] the proper functioning of

the price-setting mechanism of the market.” 476 U.S. at 459,

461–62.

     AIRM and YieldStar disrupt the price-setting mechanism of

normal competition among landlords. Where the competitive

process has been harmed, Plaintiffs are not required to allege

higher prices in every instance. The Supreme Court made clear

that an illegal restraint on competition may be condemned under

Section 1 “even absent proof that it resulted in higher

prices . . . than would occur in its absence.” Ind. Fed’n of


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Dentists, 476 U.S. at 462.18 In other words, the degree to which

landlords retain discretion to set rent and to accept or decline

the price recommendations provided by AIRM and YieldStar and

raise their rents, is not the focus. Landlords may well retain

some measure of discretion as to the prices they ultimately set.

The competitive process nevertheless has been harmed by the fact

that landlords using the software all approach the pricing of

rental units in the same way—for example, by consulting a market

range chart to determine the maximum and minimum rental prices

it will offer, using the AIRM and YieldStar pricing matrix to

print units, and by eliminating the use of concessions in

negotiations. (Compl. ¶¶ 44–45, 53, 57, 129, 153–56, 271.)

        Defendants next argue that the Complaint fails to plausibly

allege either direct evidence or indirect evidence of

anticompetitive effects. As pointed out above, direct evidence

of anticompetitive effects is not limited to increased prices or

decreased output, as Defendants maintain. (Joint Br. at 35–36.)




18Defendants’ focus on higher rents also misapprehends the use
of RealPage’s software. For instance, in a market where all
rents are declining due to oversupply, RealPage’s software could
help a landlord set the highest possible rent that might
represent an actual decrease in rent (where all landlords are
forced to decrease rent). Harm cannot be measured only by the
amount of rent charged and if it moves up or down, but also by
the effect of RealPage’s software on competition.

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The alleged alignment in the pricing behavior of competing

landlords constitutes stifling of competition under Am. Express

and Ind. Fed’n of Dentists. Am. Express, 585 U.S. at 547; Ind.

Fed’n of Dentists, 476 U.S. at 459, 461–62.

     As for indirect evidence, Defendants attack the Complaint’s

allegations of market power collectively exercised by landlords

using AIRM and YieldStar in a given local rental market, using

the penetration rates for AIRM and YieldStar. (Joint Br. at 36–

37.) As a threshold matter, Defendants offer no cogent argument

for why the penetration rates do not provide a reasonable

indicator of the anticompetitive impact of the challenged

agreements. After all, the gravamen of Claim Two is the

collective effect of the use of AIRM and YieldStar by landlords

in any given market. (Compl. ¶¶ 277–78.)

     Next, Defendants attack the Complaint’s market share

allegations by invoking the Fourth Circuit’s decision in Dickson

v. Microsoft Corp., 309 F.3d 193 (4th Cir. 2002). They assert

that Plaintiffs’ “attempt to aggregate the effects of various

separate vertical agreements to show market power and

anticompetitive effects contravenes settled Fourth Circuit law.”

(Joint Br. at 37–39.) But the holding in Dickson has no

application here.




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     Dickson dealt with classical vertical relationships between

Microsoft and original equipment manufacturers (OEM) Compaq and

Dell. 309 F.3d at 198-99. Microsoft developed and licensed

certain software that Compaq and Dell each installed on the

personal computers they manufactured, distributed, and sold to

end users. Id. at 199. In its antitrust lawsuit, the plaintiff

Gravity alleged that Microsoft’s license agreements with Compaq

and Dell amounted to separate vertical conspiracies with each

OEM. Id. at 204. Given how Gravity pleaded the concerted action

between Microsoft and each OEM, the Fourth Circuit concluded

that the district court correctly held it could not consider the

anticompetitive effects of the agreements with Compaq and Dell

in the aggregate:

     The SAC, however, did not allege a conspiracy among
     Microsoft and all OEMs; it alleged discrete conspiracies
     between Microsoft and Compaq and Microsoft and Dell.
     Consequently, the district court correctly determined
     that it could not consider the cumulative harm of
     Microsoft’s agreements with all OEMs but instead was
     required      to      consider—individually—Microsoft’s
     agreements with Compaq and Dell to evaluate each
     agreement’s potential for anticompetitive effects.

Id. at 210 (emphases added).




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        The holding in Dickson is limited to instances where

plaintiffs plead separate “discrete conspiracies.”19 Unlike the

vertical agreements in Dickson, AIRM and YieldStar are designed

to raise the “ships” of landlords—together. (Compl. ¶ 32.) As a

RealPage executive explained, AIRM and YieldStar are designed so

that “there is greater good in everybody succeeding versus

essentially trying to compete against one another in a way that

actually keeps the industry down.” (Id.) The software, through

its operation and use, eliminates the need for direct

communication and agreement between competing landlords

regarding how they price their rental units.

        The cumulative effect of multiple landlords adopting and

using AIRM and YieldStar is the essence of the pricing alignment

claim. A single landlord using AIRM or YieldStar cannot as




19Defendants’ overreading of Dickson conflicts with multiple
Supreme Court decisions holding that the anticompetitive effects
of vertical restraints are evaluated by looking at the total
volume of sales affected across the agreements. See, e.g.,
Fortner Enters., Inc. v. U.S. Steel Corp., 394 U.S. 495, 502
(1969) (“For purposes of determining whether the amount of
commerce foreclosed is too insubstantial to warrant prohibition
of the practice, therefore, the relevant figure is the total
volume of sales tied by the sales policy under challenge[.]”);
Tampa Elec. Co. v. Nashville Coal Co., 365 U.S. 320, 328–29
(1961) (describing Standard Oil as involving “a large number of
gasoline stations—5,937 or 16% of the retail outlets in the
relevant market—and the large number of contracts, over 8,000,
together with the great volume of products involved”).

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readily or easily align its pricing with the approach taken by

another landlord in a given relevant market if there are no

other landlord users of the software in that market. (Compl.

¶¶ 154, 211, 215, 217, 277.) AIRM and YieldStar enable landlords

to align their pricing based on their design and their use of

competitively sensitive information exchanged by landlords.

     D.   Individual Defendants’ Arguments Against Claim Two
          Also Fail

     As with Claim One, the individual Defendants’ motions to

dismiss Claim Two also fail, for the reasons above and as

explained below.

          1.    Camden

     Camden also seeks dismissal of the Complaint for failing to

allege a claim regarding pricing alignment. (See Camden Br.

at 9, 15.) However, Camden raises no arguments to Claim Two

beyond what it argued with respect to Claim One and what the

Defendants jointly argued. As discussed in Parts II.A. and

II.B., Plaintiffs’ Complaint satisfies the required standards

with regard to pricing alignment and Camden. Camden’s motion to

dismiss Claim Two should be denied.

          2.    LivCor

     Regarding Claim Two, LivCor again misinterprets Plaintiffs’

allegations. It asserts that Claim Two is an agreement “to adopt

RealPage’s recommendations.” (LivCor Br. at 10–11.) This reading

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is incorrect. The actual allegations in the Complaint are that

Defendants, including LivCor, agreed “to use the AIRM or

YieldStar pricing software as RealPage designed it.” (Compl.

¶ 28.) By focusing on acceptance rates, LivCor ignores

RealPage’s stated goal. As RealPage regularly reminded its

customers, “a rising tide rises [sic] all ships.” (Id. ¶ 33.)

     LivCor relies on Five Smiths, Inc. v. Nat’l Football League

Players Ass’n, 788 F. Supp. 1042 (D. Minn. 1992), to minimize

the use of RealPage’s services as mere “advice.” (LivCor Br.

at 11-12.) Five Smiths is factually inapposite. There the

plaintiffs alleged a horizontal price-fixing claim but the court

found that the plaintiffs failed to allege what actions were

taken to fix prices, what agreements were entered into, or how

the agreement would function. 788 F. Supp. at 1048. Here,

Plaintiffs have alleged a claim that identifies LivCor’s

agreement with RealPage and explains in detail how AIRM and

YieldStar operate to align pricing. (Compl. ¶ 28-33.)

     LivCor further argues that the Complaint fails to allege

that it has market power in any relevant market. (LivCor Br. at

12–13.) Its reliance on Dickson, as explained in Part II.B., is

misplaced. Ultimately, the pricing alignment claim alleges

common use of AIRM and YieldStar by landlords. Therefore, the




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aggregate impact is relevant, not LivCor’s individual market

power.

     For the reasons stated above, LivCor’s motion to dismiss as

to Claim Two fails.

          3.    Pinnacle

     Pinnacle also seeks dismissal of the Complaint for failing

to allege a claim regarding pricing alignment. (Pinnacle Br. at

15–21.) As explained for the reasons discussed in Parts II.A.

and II.B., the Complaint satisfies the required standards with

regard to pricing alignment and Pinnacle. The Complaint alleged

that Pinnacle and other Defendants licensed RealPage’s AIRM or

YieldStar to use in making rental pricing competitive decisions,

aligning its prices with those of other landlords. As explained

in Part II.B., Pinnacle’s reliance on Dickson is misplaced.

Likewise, for the reasons stated above in Part I.D.3.,

Pinnacle’s claim about not being a landlord is simply a

distraction.

          4.    Willow Bridge

     Willow Bridge argues that Claim Two should be dismissed

because Plaintiffs “rely upon Willow Bridge’s mere license of

the RMS software, a widely available and customizable commercial

product.” (Willow Bridge Br. at 6). Willow Bridge is incorrect

as Plaintiffs allege more than a “mere licensing” of the RMS


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 software. Rather, Plaintiffs allege that Willow Bridge agreed to

 use the RealPage software as intended and, therefore, it agreed

 to align pricing processes, strategies, and responses. (Compl.

 ¶¶ 28, 272.)

       Plaintiffs allege that Willow Bridge knew the effect of

 using AIRM or YieldStar on prices. Borrowing a phrase from

 RealPage, Willow Bridge used RealPage’s phrase “a rising tide

 raises all ships” to explain how AIRM would provide price

 recommendations to amplify market trends. (Compl. ¶ 33.) A

 Willow Bridge executive also noted that YieldStar is “designed

 to always test the top of the market whenever it feels it’s safe

 to.” (Id. ¶ 122.) These statements do not reflect mere

 “unilateral business conduct.” (Willow Bridge Br. at 4.)

       Plaintiffs have properly alleged Claim Two as it pertains

 to Willow Bridge.


III.   The State-Law Claims Should Not Be Dismissed

       As explained below, both Defendants’ arguments about the

 state-law claims, and LivCor’s specific arguments about

 Connecticut markets, should be denied.

       A.   The Complaint States Plausible Claims for Relief Under
            State Laws

       Defendants do not make a separate argument about the state-

 law claims, contending only that each state law asserted in this


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action “instructs courts to dismiss those claims when their

federal analogues fail.” (Joint Br. at 39.) There are no such

instructions in the States’ laws.

     The States’ claims under state law are not governed by the

same standards as federal claims. Cf. Felder v. Casey,

487 U.S. 131, 151 (1988). The state-specific claims are based on

state-specific law that is either: (i) more protective of the

States’ interests than is the Sherman Act; or (ii) at least co-

extensive with the Sherman Act claims. See, e.g., Epic Games,

67 F.4th at 1000–02. In claims arising out of supplemental

jurisdiction, federal courts must apply state substantive law.

See Felder, 487 U.S. at 151.

     North Carolina’s section 75-1.1, N.C. Gen. Stat. Ann. § 75-

1.1 (West 2024), “include[s] within its reach the federal

antitrust laws” but also sanctions practices “beyond traditional

antitrust concepts.” See L.C. Williams Oil Co. v. Exxon Corp.,

625 F. Supp. 477, 481 (M.D.N.C. 1985) (citing Marshall v.

Miller, 302 N.C. 539, 548 (1981)).

     Colorado’s 2023 Antitrust Act, Colo. Rev. Stat. Ann. § 6-4-

101, et seq. (West 2023), removed a harmonization provision, but

federal decisions remain “helpful to an understanding” of

Colorado’s antitrust laws. People v. N. Ave. Furniture &

Appliance, Inc., 645 P.2d 1291, 1295–96 (Colo. 1982) (en banc).


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     Oregon’s state-law-based antitrust claims are merely guided

by, but not beholden to, federal decisions. See Or. Rev. Stat.

Ann. § 646.715(2) (West 2024).

     Connecticut’s state-law-based claims are also merely guided

by, but not beholden to, federal decisions. See Conn. Gen. Stat.

Ann. § 35-44b (West 2025); see also Miller's Pond Co., LLC v.

City of New London, 273 Conn. 786, 809-10 (2005) (“[W]e must

conclude that § 35-44b merely gave legislative imprimatur to

what this court had been doing long before its enactment,

namely, looking to case law construing relevant federal statutes

as persuasive authority.”), abrogated on other grounds by,

FuelCell Energy, Inc. v. Town of Groton, 350 Conn. 1 (2024);

Westport Taxi Serv. v. Westport Transit Dist., 235 Conn. 1, 15

(1995) (“[O]ur construction of the Connecticut Antitrust Act is

aided by reference to judicial opinions interpreting the federal

antitrust statutes.” (quoting State v. Hossan-Maxwell, Inc.,

181 Conn. 655, 660 (1980)).

     Illinois’s state-law-based antitrust claims are also merely

guided by, but not beholden to, federal decisions. 740 Ill.

Comp. Stat. Ann. 10/11 (West 2024); Gilbert’s Ethan Allen

Gallery v. Ethan Allen, Inc., 642 N.E.2d 470, 472 (Ill. 1994)

(“Federal case law interpreting . . . the Sherman Act is merely




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a guide for Illinois courts. . . . The Federal decisions are not

binding on our courts”).

     As to California’s Unfair Competition Law (“UCL”), Cal.

Bus. & Prof. Code § 17200 (West 2025), Defendants ignore nearly

a century of California state court decisions explaining the

expansive reach of the statute. The California Supreme Court has

long recognized that the UCL is broadly framed to address

innumerable “new schemes which the fertility of man’s invention

would contrive.” Am. Philatelic Soc’y v. Claibourne, 3 Cal.

2d 689, 698 (1935). Further, “[w]hen a scheme is evolved which

on its face violates the fundamental rules of honesty and fair

dealing, a court of equity is not impotent to frustrate its

consummation because the scheme is an original one.” Id. at 698–

99. Courts consistently rejected narrowing interpretations of

the UCL, underscoring instead the Legislature’s intention “to

permit tribunals to enjoin on-going wrongful business conduct in

whatever context such activity might occur.” Barquis v. Merchs.

Collection Assn., 7 Cal. 3d 94, 111 (1972). The Ninth Circuit

recognized that district courts apply the UCL standards set down

by the California Supreme Court. Epic Games, 67 F.4th at 1000

(citing Am. Philatelic Soc’y, 3 Cal. 2d at 698). In affirming

California’s similarly framed UCL claims in another antitrust

matter, this Court found the UCL indeed “covers conduct that


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‘violates the policy or spirit’ of the antitrust laws ‘or

otherwise significantly threatens or harms competition.’”

Syngenta, 711 F. Supp. 3d at 591 (quoting Cel-Tech Commc’ns,

Inc. v. Los Angeles Cellular Tel. Co., 20 Cal. 4th 163, 187

(1999)); see also Epic Games, 67 F.4th at 1000. California’s

claims against Defendants, likewise, are plausible and

actionable under the UCL.

     As for Massachusetts state law, Defendants miscite Ciardi

v. F. Hoffmann-La Roche, Ltd., 762 N.E.2d 303 (Mass. 2002), for

the incorrect proposition that the reach of the Massachusetts

Consumer Protection Act, Mass. Gen. Laws Ann. ch. 93A, et seq.

(West 2024), is cabined by federal Sherman Act jurisprudence.

(See Joint Br. at 40.) In Ciardi, the Commonwealth’s Supreme

Judicial Court reached precisely the opposite conclusion. See

762 N.E.2d at 313–14 (indirect purchasers may recover for price-

fixing violations under ch. 93A notwithstanding the holding of

Illinois Brick Co. v. Illinois, 431 U.S. 720 (1977)). While the

Court noted that an interpretation of ch. 93A should be informed

by jurisprudence on Section 5 of the Federal Trade Commission

Act, 15 U.S.C. § 45(a)(1) (2018) (“FTC Act”), it did so for the

specific purpose of explaining that although the FTC may enforce

the Sherman and Clayton Acts, it is “not confined to [the]

specific prohibitions” attendant to those two statutes. See


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Ciardi, 762 N.E.2d at 309.     Accordingly, the Court held,

litigants suing under the Commonwealth’s “little FTC Act,” i.e.,

ch. 93A, are also not so confined. See id. at 312, 314.

Moreover, that ch. 93A is “a statute of broad impact”

unconstrained by the Sherman Act is reflected not only in

Ciardi, see id. at 308, but also in the plain text of the

statute itself as compared to Massachusetts’s Sherman Act

analog. Compare Mass. Gen. Laws Ann. ch. 93A, § 2 (West 2024)

(providing that courts will be guided by the interpretations of

the FTC Act, 15 U.S.C. 45(a)(1), with Mass. Gen. Laws Ann. ch.

93, § 1 (West 2024) (state antitrust act “shall be construed in

harmony with judicial interpretations of comparable federal

antitrust statutes insofar as practicable”); see also Mass. Gen.

Laws Ann. ch. 93, § 14A (West 2024) (state antitrust act “shall

have no effect upon the provisions of [ch. 93A] except as

explicitly provided [therein]”).

     Defendants’ federal harmonization argument with respect to

Plaintiff State of Tennessee’s claims is particularly

confounding. Defendants cite to two cases, Freeman Indus., LLC

v. Eastman Chem. Co., 172 S.W.3d 512, 519 (Tenn. 2005), and

Syngenta, 711 F. Supp. 3d 545, (Joint Br. at 41), which state

the opposite. To the extent that Defendants’ masquerade is in

fact a standing argument, that too fails. Defendants make this


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argument with little explanation more than “plaintiffs have

offered no facts specific to Tennessee.” (Joint Br. at 41.) Yet

as this Court found sufficient just last year in Syngenta, 711

F. Supp. 3d at 590-91, Plaintiff State of Tennessee (1)

incorporated every preceding allegation in the complaint, which

outlines Defendants’ conduct that substantially affects each

alleged market, (2) alleged that Defendants engaged in providing

multifamily housing to consumers in Tennessee markets, and (3)

alleged that Defendants’ conduct harmed thousands of multifamily

renters in the state. (Compl. ¶¶ 318-20.) Accordingly, Plaintiff

State of Tennessee has stated a valid claim under its state

laws.

        Additionally, for all the reasons stated above, the state-

law claims survive even if they are co-extensive with the

Sherman Act.

        The Court should deny Defendants’ motion to dismiss

Plaintiff States’ claims predicated on state law.

        B.   LivCor’s Arguments Regarding Connecticut Markets Fail

             1.   Plaintiffs’ Claims Against LivCor Relating to
                  Connecticut Markets Should Not Be Dismissed

        LivCor argues that all claims against it should be

dismissed as to markets within Connecticut because Plaintiffs

“allege nothing to explain how LivCor could have participated in



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anticompetitive agreements related to markets in which it never

operated.” (LivCor Br. at 14.)

     The law requires that the “character and effect of a

conspiracy are not to be judged by dismembering it and viewing

its separate parts, but only by looking at it as a whole.”

Continental Ore Co. v. Union Carbide & Carbon Corp.,

370 U.S. 690, 698-99 (1962); see United States v. Socony-Vacuum

Oil Co., 310 U.S. 150, 253-54 (1940) (“sales by any one of the

respondents in the Mid-Western area bound all.”).

     Plaintiffs allege that LivCor, along with the other

Defendants, participated in a set of agreements that resulted in

anticompetitive harms in Connecticut markets as well as other

relevant markets outside of Connecticut. Plaintiffs’ claims are

not defeated solely because LivCor has never physically operated

within Connecticut. Collectively, landlords using AIRM or

YieldStar and/or sharing competitively sensitive information are

alleged to have market power in each of the relevant markets

alleged. (Compl. ¶ 209.)

     Contrary to LivCor’s assertion, Plaintiffs allege that

LivCor and other Defendants collectively participated in

anticompetitive agreements to share information and align

pricing. (Compl. ¶¶ 260, 263, 271–73.) Those agreements affect

markets in which a particular Defendant may not operate. Despite


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being competitors, Defendants all contributed their nonpublic,

competitively sensitive information to RealPage, understanding

that RealPage’s software used all their combined data to

generate recommendations for themselves and their rivals, to

employ machine learning to train models on this sensitive data,

and ultimately to “raise the tide” in markets within each of the

Plaintiff States. (Compl. ¶¶ 5, 16, 128, 132.)

     Further, Plaintiffs allege that LivCor and other Defendants

engaged in “user group” meetings, where they discussed market

intelligence and competitively sensitive information concerning

new and renewal rent increases, concessions, and renewal

strategies, among other things. (Compl. ¶¶ 102, 103, 106, 108,

111.) The information exchanged in the “user group” meetings had

an effect on markets across the country, including Connecticut,

as LivCor and the other Defendants worked to collectively stifle

competition and harm renters in the process. (Id. ¶¶ 263, 266,

305.) LivCor and the other Defendants did so for an improper,

yet rational reason: it enabled them to outperform their

competitors and artificially keep rents high in all alleged

markets, including Connecticut markets. (Id. ¶¶ 20, 142.)

     LivCor relies on an Eleventh Circuit decision for the

proposition that there can be “no viable claims for conspiracy

in [a state] market against defendants with ‘zero or near-zero


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market share in [that state] during the period of the alleged

conspiracy.’” (LivCor Br. at 14 (quoting City of Tuscaloosa v.

Harcros Chems., Inc., 158 F.3d 548, 568 (11th Cir. 1998)).)

Harcros does not support LivCor’s argument.20 The Harcros Chems.

court’s conclusion was not based on the defendants’ presence or

lack thereof in a state market; rather, the court concluded that

their “participation in a conspiracy that garnered them zero or

near-zero market shares would be irrational” because the

plaintiffs “put forward no evidence . . . to show any such quid

pro quo or even to show that [the defendants’] market shares

increased elsewhere” or, further, that the defendants made any

money from the alleged conspiracy. Id. (emphasis added)               Here,

the Complaint alleges benefits to LivCor in markets where it

operates. (E.g., Compl. ¶¶ 2, 20, 32–33, 121–30.) There is

nothing irrational about LivCor participating in a set of

agreements meant to create “a rising tide [that] raises all

ships,” whether a particular ship is in a Connecticut market or

another relevant market. (Id. ¶ 1.) As RealPage’s Vice President

of Revenue Management Advisory Services explained, “there is

greater good in everybody succeeding versus essentially trying




20Additionally, Harcros Chems. was an appeal from a decision on
summary judgment, not a motion to dismiss. 158 F.3d at 568.

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to compete against one another in a way that actually keeps the

entire industry down.” (Id. ¶ 2.)

     LivCor also argues that “Plaintiffs’ allegations must be

analyzed in discrete local markets because, under Plaintiffs’

theory of the case, competition among landlords is ‘inherently

local.’” (LivCor Br. at 14 (quoting Compl. ¶ 200).) Plaintiffs

do allege local markets, but they also allege that within each

of those local markets RealPage uses the same set of AIRM

models. (AC ¶ 41.) LivCor knowingly contributes its nonpublic,

competitively sensitive data for the training of those models,

which are used in markets in Connecticut. (Id. ¶¶ 41, App. A,

App. B.) Thus, even if LivCor does not operate in Connecticut,

the effects of its participation in the information-sharing

agreement are felt there. See United States v. Topco Assocs.,

405 U.S. 596, 607 (1972) (“An analysis of the reasonableness of

particular restraints includes consideration of the facts

peculiar to the business in which the restraint is applied,

[and] the nature of the restraint and its effect . . . .”).

          2.    Connecticut’s State-Law Claim Against LivCor
                Relating to Connecticut Markets Should Not Be
                Dismissed

     LivCor further relies on State v. Anthem Health Plans,

Inc., 2010 WL 2196520 (Conn. Super. Ct. Apr. 20, 2010), to

incorrectly assert that the Connecticut Antitrust Act reaches


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only agreements “entered into or effectuated” in Connecticut.

(LivCor Br. at 14–15 (quoting 2010 WL 2196520, at *3).) LivCor

mischaracterizes this case, which specifically related to a

dispute concerning the Connecticut Attorney General’s subpoena

authority to engage in pre-complaint antitrust investigations.

Id., at *1. Anthem Health Plans only held that the Connecticut

Antitrust Act “does not explicitly indicate that the attorney

general may subpoena documents or testimony dealing with out-of-

state ‘persons.’” Id. at *4.     The notion that it in any way

limits the scope of the Connecticut Antitrust Act to only

agreements entered into or effectuated in Connecticut is wholly

unfounded. See Shea v. First Fed. Sav. & Loan Assoc.,

184 Conn. 285, 294-95 (1981) (“Our federal system generally

allows state antitrust laws to apply to transactions which,

although having interstate aspects, significantly affect state

interests.”).

     In fact, Anthem Health Plans clearly observed the

distinction stating that the Connecticut Antitrust Act “provides

that it applies to every contract, combination or conspiracy in

restraint of trade or to monopolize, to every attempt to

monopolize, or to every monopolization of any part of trade or

commerce ‘when any part thereof was entered into or effectuated

in whole or in part’ in Connecticut.” Anthem Health Plans,


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2010 WL 2196520 at *3 (emphasis added) (quoting D. Belt, “The

Connecticut Anti-Trust Act: A Guide to Interpretation,” 54 Conn.

B.J. 348, 350 (1980)).21 Plaintiffs have amply alleged that

LivCor participated in a set of agreements in restraint of trade

and that part of those agreements was both entered into and

effectuated in Connecticut, resulting in collective

anticompetitive harms in Connecticut markets.

        The Court should deny Defendants’ motion to dismiss

Plaintiff States’ claims predicated on state law.



        Dated: May 29, 2025               Respectfully submitted,

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21See also Conn. Gen. Stat. Ann. § 35-30 (West 2025) (“This
chapter applies to every contract, combination, or conspiracy in
restraint of any part of trade or commerce or every contract,
combination or conspiracy to monopolize, or every attempt to
monopolize, or every monopolization of any part of trade or
commerce when any part thereof was entered into or effectuated
in whole or in part in this state.”) (emphasis added); Conn.
Gen. Stat. Ann. § 35-25 (West 2025) (“‘[t]rade or commerce’
means intrastate as well as interstate trade or commerce.”).

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                         WORD COUNT CERTIFICATION


     I certify that this Opposition complies with the applicable

word limits excluding the caption, signature lines, certificate

of service, and any cover page or index in accordance with Local

Civil Rule 7.3(d)(1). This certification is made in accordance

with Local Civil Rule 7.3(d)(1). The undersigned relied on the

word count feature provided by word processing software. The

Opposition contains 17,388 words. (See Doc. 123 (enlarging word

count limit to 22,000 words).)

     Dated: May 29, 2025

                                       By: s/ Henry C. Su

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                          CERTIFICATE OF SERVICE

          I hereby certify that on May 29, 2025, I

electronically filed the foregoing with the Clerk of the Court

using the CM/ECF system, which will send notification of such

filing to all counsel of record.

                                       By: s/ Henry C. Su

                                       Henry C. Su




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